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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

 UNITED STATES OF AMERICA                                         §
                                                                  §
 v.                                                               §        Criminal No. 3:07-CR-289-M
                                                                  §
 BRIAN L. POTASHNIK, ET AL.                                       §


                                     MEMORANDUM OPINION AND ORDER

            Before the Court is the Joint Motion to Sever filed by Defendants Brian and Cheryl

 Potashnik (the “Potashniks”) [Docket Entry #517], Defendant Lewis’s Motion to Sever Counts

 15, 17, 20, and 31 from Counts 1-9, 21-25, and 27-30 [Docket Entry #335], Defendant

 Slovacek’s Motions for Relief from Misjoinder of Counts 1-9, 21-25, 26 and 27-30 [Docket

 Entries # 370, 374, 376, 377], and Defendant Hodge’s Motion for Relief from Misjoinder Under

 Rule 8 and Prejudicial Joinder Under Rule 14 [Docket Entry #236].1 On October 2, 2008, the

 Court heard arguments regarding these Motions. At this hearing, the Court GRANTED Hodge’s

 Motion,2 but reserved judgment on the remaining Motions. Having considered the pleadings, the


 1
     FED. R. CRIM. P. 8 states:
       (a) Joinder of Offenses. The indictment or information may charge a defendant in separate counts with 2 or
       more offenses if the offenses charged--whether felonies or misdemeanors or both--are of the same or similar
       character, or are based on the same act or transaction, or are connected with or constitute parts of a common
       scheme or plan.
       (b) Joinder of Defendants. The indictment or information may charge 2 or more defendants if they are
       alleged to have participated in the same act or transaction, or in the same series of acts or transactions,
       constituting an offense or offenses. The defendants may be charged in one or more counts together or
       separately. All defendants need not be charged in each count.

 FED. R. CRIM. P. 14 states, in relevant part:
     (a) Relief. If the joinder of offenses or defendants in an indictment, an information, or a consolidation for
    trial appears to prejudice a defendant or the government, the court may order separate trials of counts, sever
    the defendants' trials, or provide any other relief that justice requires.
 2
   In its response, the Government asked the Court to withhold a ruling on Hodge’s Motion until after the November
 election. However, given the nature of the Counts naming her, under Rule 8 Hodge should have been severed
 regardless of her re-election as a State Representative, so this Court did not see a need to reserve judgment on the
 issue until after the election. Hodge was in fact re-elected as a State Representative on November 4, 2008. The

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 arguments of counsel, and the applicable law, the Court finds that these Motions should be

 GRANTED IN PART and DENIED IN PART.

                                               Procedural History

          This is a criminal matter involving the trial of twelve criminal Defendants3 and six

 Counts of alleged conspiracies, with thirty-one total Counts. This Court previously denied

 severance Motions filed by Defendants Robertson, Dean, and Lewis [Docket Entries #163, 209,

 and 232, respectively]. In its Memorandum Opinion and Order of January 18, 2008

 (“Memorandum Opinion”), the Court reserved three severance issues for further determination:4

          1.   Whether Counts 10 and 15 are sufficiently related to Counts 1-9 and 21-25 to be tried

               together;

          2. Whether a joint trial of Count 18 and Counts 10 and 15 is proper;

          3. Whether joinder of Counts 21-25, Count 26, and Counts 27-30 (the “Tax Counts”)

               with the remaining Counts is proper.

          At the October 2, 2008 hearing, this Court granted Hodge’s Motion for Relief from

 Misjoinder as to Counts 1-9 and 21-25, answering the first question above in the negative.5

 This Memorandum Opinion will elaborate on the Court’s reasons for granting the severance of

 parties agreed to the severance of Hodge subject to her re-election, and the Court also finds severance appropriate on
 this additional ground, so that Hodge may fulfill her duties to her constituents while the legislature is in session.
 However, the severance of Counts 1-9 and 21-25 also directly affects: (1) the Potashniks, who are also named in
 Counts 1-9; and (2) several additional pending Motions that request severance of Counts 1-9 and 21-25 (rather than
 simply severance of Hodge) under Rules 8 and 14. So while the severance of Hodge is not now disputed, this
 Memorandum Opinion will elaborate on the Order severing Counts 1-9 and 21-25 from the remaining Counts, and
 will dispose of the pending severance Motions.
 3
   There were fourteen Defendants originally indicted in this matter, but two have since pled guilty to the charges
 alleged.
 4
   The Court notes that its Memorandum Opinion was not binding on the other Defendants and did not in any way
 prevent the assertion of the same grounds for severance at a later date.
 5
   The decision to grant Hodge’s Motion also partially disposed of: (1) Lewis’s Motion to Sever Counts 15, 17, 20,
 and 31 from Counts 1-9, 21-25, and 27-30 (leaving only the propriety of joinder of Counts 27-30 in dispute); (2)
 Slovacek’s Motions to Sever Counts 1-9 and 21-25 (joined by Rashad) from the remaining Counts, leaving only
 Slovacek’s Motions for Relief from Misjoinder of Counts 26 and 27-30 in dispute; and (3) the Potashniks’ Joint
 Motion for Severance of Counts 1-9, leaving only the propriety of joinder of Counts 10-14 with the remaining
 Counts in dispute.

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 Counts 1-9 and 21-25. The Court will then address the propriety of joining Counts 10-14 with

 the remaining Counts, including Counts 15 and 18, as to the Potashniks, which in part addresses

 the second remaining question. Finally, the Court will discuss the propriety of joining the Tax

 Counts with the remaining Counts as to all Defendants, in response to the third question above.6

                                            Factual Background

         On September 27, 2007, the Government filed a 31 Count Indictment against fourteen

 named Defendants. Two of the Defendants have entered into plea agreements.7 Of the

 remaining twelve Defendants, eight have filed severance Motions, alleging improper joinder

 under Rule 8(b), or in the alternative, prejudicial joinder under Rule 14. Since Rule 8(b) requires

 the Court to examine the facts underlying each Count in the Indictment, the following is a brief

 summary of the facts alleged, taken as true by the Court for the purpose of determining the

 propriety of joinder.8 The Court emphasizes that it assumes the following facts to be true solely

 for the purpose of evaluating the propriety of joinder, and that the Court makes no factual

 findings with respect to these allegations, as to which the Defendants proceeding to trial are

 presumed to be innocent.

         Counts 1-9 of the Indictment allege a conspiracy to commit bribery concerning a state

 government receiving federal benefits, in violation of 18 U.S.C. § 371, and bribery concerning a

 state government receiving federal benefits and aiding and abetting, in violation of 18 U.S.C. §§

 666(a)(1)(B) and (2), for acts occurring between October 1, 2002, and October 1, 2004. These

 Counts name Defendant Hodge and Defendants Brian and Cheryl Potashnik, and allege that in

 6
   Addressing joinder of the Tax Counts will dispose of Lewis’s Motion to Sever Counts 15, 17, 20, and 31 from
 Counts 21-25 and 27-30 [Docket Entry #335], and Slovacek’s Motions for Relief from Misjoinder of Counts 21-25,
 26 and 27-30 [Docket Entries # 374, 376, 377]. However, the Court notes that it previously severed Slovacek and
 Rashad under Rule 14, and therefore Slovacek’s remaining severance arguments are moot.
 7
   On April 15, 2008, Defendant Allen McGill entered into a plea agreement with the Government. On April 30,
 2008, Defendant Andrea Spencer entered into a plea agreement with the Government.
 8
   See United States v. Phillips, 664 F.2d 971, 1016 n.67 (5th Cir. 1981).

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 her official capacity as a State Representative, Hodge provided assistance to the Potashniks, who

 were seeking approval of pending tax credit applications from the Texas Department of Housing

 and Community Affairs (TDHCA) for affordable housing developments located in Hodge’s

 district.

         These Counts allege that the Potashniks, using personal checks and money orders, paid

 portions of Hodge’s rent and utilities, and for the installation of new carpet in her home, in

 exchange for Hodge’s assistance with the tax credit application process. Such assistance

 included Hodge’s submission of supportive letters to the TDHCA, which counted for points in

 the tax credit scoring system. In the October 2 hearing, this Court severed from the remaining

 Counts, for improper joinder under Rule 8(b), Counts 1-9 and Counts 21-25 (alleging false and

 fraudulent statements by Hodge on her income tax return, based on her failure to fully report her

 income, including monies paid on her behalf by the Potashniks).

         Count 10 alleges a conspiracy to commit bribery concerning a local government

 receiving federal benefits, in violation of 18 U.S.C. § 371. This Count names Defendants Hill,

 Lee, Farrington, Robertson, Spencer, Slovacek, and the Potashniks. It alleges that from October

 1, 2003, through June 20, 2005, these Defendants conspired to unjustly enrich Hill and Lee, in

 exchange for their official acts on the Dallas City Council (“City Council”) and the Dallas City

 Plan and Zoning Commission (“CPC”), to further the business interests of the Potashniks.

 Counts 11-14 incorporate the substantive offenses behind the conspiracy charge in Count 10, and

 allege bribery concerning a local government receiving federal benefits and aiding and abetting,

 in violation of 18 U.S.C. §§ 666(a)(1)(B) and (2) and § 666(a)(2).

         Counts 10-14, the “Bribery Counts,” allege that in his official capacity, Lee moved the

 CPC to recommend approval of zoning change applications for the Potashniks’ projects, and that


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 Hill moved the City Council to accept the CPC’s recommendations, in exchange for payments

 made through sham consulting agreements and a front company, Farrington & Associates, to

 conceal the illegal nature of the payments. These Counts also allege demands by Hill and Lee

 that the Potashniks award construction contracts, through sham deed restrictions, to associates of

 Hill and Lee.

        Count 15 alleges a conspiracy to commit extortion, in violation of 18 U.S.C. § 1951, for

 acts from August 2004, through June 20, 2005. Counts 16-17 contain the substantive offenses

 underlying the conspiracy charge in Count 15, and allege extortion by public officials and aiding

 and abetting, in violation of 18 U.S.C. §§ 1951 and 1952, for acts on February 22, 2005, and

 May 11, 2005, respectively. The facts underlying the “Extortion Counts” involve Hill and Lee

 conditioning their official support for the tax credit projects of an unindicted housing developer

 (“Developer”) upon compliance with extortionate demands for payments to their associates

 under sham consulting agreements and deed restrictions. These Counts name Defendants Hill,

 Lee, Reagan, McGill, Rashad, Robertson, Spencer, Slovacek, Dean, Lewis, and Farrington.

        Count 18 alleges a conspiracy to commit deprivation of honest services by wire fraud, in

 violation of 18 U.S.C. § 1349, for acts from November 5, 2004, through June 20, 2005. This

 Count names Defendants Hill, Lee, Farrington, Spencer, and Slovacek. It alleges that Lee,

 Spencer, and Slovacek created for-profit business entities, The LKC Dallas (“The LKC”) and

 Kiest Blvd., L.P. (“Kiest Blvd.”), to purchase and develop real estate projects, and did so with

 the official assistance of Hill and Lee. Hill and Lee in turn allegedly used their official positions

 and influence to obtain personal benefits from these real estate projects, as to which the extent of

 their personal financial interests was not fully disclosed.

        Specifically, Count 18 alleges that Hill agreed to use his official position and influence


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 on the City Council and the Dallas Police and Fire Pension System (“DPFP”) Board of Trustees

 to promote and advance the financial interests of Lee, Spencer, and Slovacek, by seeking for The

 LKC and Kiest Blvd. the following: (1) authorization of a Residential Development Acquisition

 Loan Program loan from the City of Dallas (the “City”); (2) award of local bond funds from the

 City; (3) award of earmark appropriations from the federal government; (4) award of private

 grant funds from private foundations; (5) creation of a tax increment financing district; (6)

 approval of investment funding from a local pension fund; and (7) waiver of a locally-required

 development impact study. Hill allegedly did these acts in exchange for things of value,

 including cash payments and kickbacks on sham consulting agreements.

        Count 18 also alleges that Lee helped create Kiest General and Kiest Blvd., met with

 bankers to secure loans for Kiest Blvd.’s projects at The LKC office, directed that all

 communications with The LKC’s clients go through Lee, investigated and attempted to further

 various business prospects for Kiest Blvd. and The LKC, and admitted that because he was on

 the CPC, his role in these entities was a “hidden partner.” The Indictment alleges that Hill told

 Lee that the DPFP System “would not allow Lee to make $1 million off of the [real estate]

 purchase,” which Lee was working to secure for Kiest Blvd. Lee also allegedly used his official

 position on the CPC to advance his interests by threatening a property owner with “official

 action to coerce the sale of privately-held property to The LKC at a favorable price,” namely

 threatening to use “code enforcement” against the landowner if he did not sell the property at a

 specific price. Count 18 further alleges that both Hill and Lee concealed the expected and actual

 receipt of things of value “by not disclosing conflicts of interest, omitting sources of income on

 Financial Disclosure Reports, and receiving cash payments from nominee companies,” and by

 “funneling cash payments from The LKC to Hill and Lee through Farrington & Associates.”


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        Counts 19-20 allege a conspiracy to commit money laundering, in violation of 18 U.S.C.

 § 1956(h), for acts from August 2004, to June 20, 2005. Count 19 names Defendants Hill, Lee,

 Farrington, Robertson, Spencer and Slovacek, and Count 20 names Defendants Hill, Reagan,

 Dean and Lewis. Count 19 incorporates the facts underlying the Bribery Counts, and alleges

 concealment of funds derived from the bribery alleged in Counts 11-14. Count 20 incorporates

 the facts underlying the Extortion Counts, and alleges a conspiracy to conceal funds derived

 from the unlawful extortion alleged in Counts 16-17.

        Counts 21-25 name only Hodge, and allege false and fraudulent statements on her income

 tax returns, for the years 2001 to 2005.

        Count 26 alleges tax evasion by Hill, for his “attempt to evade and defeat the payment of

 tax due and owing by him to the United States of America for the calendar years of 1996, 1997,

 and 1999 through 2004, in the total amount of $216,173.00, by: (1) failing to pay the tax to the

 Internal Revenue Service (“IRS”); and (2) engaging in affirmative acts of evasion,” which

 included failing to file tax returns and allegedly laundering bribes and kickbacks through

 Farrington & Associates.

        Counts 27-30 allege tax evasion by Reagan, for his attempt to evade and defeat income

 taxes owed by him for each calendar year, by failing to file income tax returns, by failing to pay

 to the IRS the income tax owed, and by concealing and/or attempting to conceal his true and

 correct income, allegedly through the improper personal use of funds from the charitable bank

 account of the Black State Employees Association of Texas (“BSEAT”). Reagan was the

 chairman and chief executive officer of BSEAT and the BSEAT Community Development

 Corporation. Reagan allegedly used these community organizations to create an illusion of

 opposition in the minority community to Developer’s affordable housing projects while these


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 projects awaited approval from the CPC and the City Council, and then conditioned withdrawal

 of this sham opposition on the exchange of things of value.

          Count 31 is the Forfeiture Count, relevant only upon conviction of the above Counts.

          The Court must now determine whether joinder is proper under these facts as alleged.

                                               Standard of Review

          A. Propriety of Joinder under Rule 8

          This case involves multiple Defendants and multiple Counts, so FED. R. CRIM. P. 8(b) is

 what this Court must first analyze.9 Rule 8(b) requires the trial court to determine the propriety

 of joinder of defendants, by looking to the substance of the counts in the indictment, and whether

 the defendants are alleged to have participated in the same act or transaction, or same series of

 acts or transactions.10

          The United States Supreme Court has instructed federal courts to interpret the

 requirements of joinder under Rule 8 liberally, stating:

          There is a preference in the federal system for joint trials of defendants who are
          indicted together. Joint trials “play a vital role in the criminal justice system[.]”
          They promote efficiency and “serve the interests of justice by avoiding the
          scandal and inequity of inconsistent verdicts.”11

 Rule 8(b) is designed to promote judicial economy and efficiency and to avoid a multiplicity of

 trials, but only so long as these objectives can be achieved without substantial prejudice to the

 9
   United States v. Kaufman, 858 F.2d 994, 1003 (5th Cir. 1988).
 10
    FED. R. CRIM. P. 8(b).
 11
    Zafiro v. United States, 506 U.S. 534, 537 (1993) (citation omitted); see also United States v. Robichaux, 995 F.2d
 565, 569 (5th Cir. 1993) (“[R]ule 8 is to be broadly construed in favor of initial joinder.”). But see United States v.
 Ellender, 947 F.2d 748, 754 (5th Cir. 1991) (“Exceedingly long trials impose substantial burdens on the trial court,
 attorneys, defendants, support personnel, and particularly on jurors. Indeed, this case required the services of
 numerous court-appointed counsel, many of whom were drawn away for an extended period from other clients and
 matters, and who sat silently while awaiting some reference to their respective clients. Significant additional costs
 were incurred in the modification of the courtroom and the installation of ‘temporary’ furnishings. Many in the room
 were relegated to plank-type bleachers, suitable perhaps for enjoying an afternoon of football, but of questionable
 propriety for a protracted trial. While sizable joint trials may be an efficient use of judicial resources, and may
 promote the interests of justice, these are not the only yardsticks by which a decision to allow a megatrial must be
 measured.”).

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 right of the defendants to a fair trial.12 The Supreme Court has recognized that joint trials

 conserve funds, reduce inconvenience to witnesses and public authorities, and avoid delays in

 bringing the accused to trial, and Rule 8 accommodates these interests while protecting against

 prejudicial joinder.13 The Supreme Court warned that when individuals conspire with others,

 they invite mass trial by their conduct.14 “Indeed, the circumstance that one has chosen odious

 associates seems a dubious sword.”15

          Rule 8(b) requires defendants to be charged with participating in the “same act or

 transaction” or “same series of acts or transactions.” However, the Rule does not require that

 each defendant have participated in the same act or acts; all that is required is “a series of acts

 unified by some substantial identity of facts or participants.”16 Rule 8’s requirement is ordinarily

 satisfied by the allegation of an overarching conspiracy that encompasses the substantive

 offenses charged in the indictment.17 It is well settled that a charge of conspiracy initially

 legitimizes joinder of all defendants,18 as the conspiracy charge provides a “common link” and

 demonstrates that the charges arise from or “grow out of” the same acts or transactions.19

 However, the government is not required to allege a conspiracy in order to join defendants or

 counts—“what is required is a series of acts unified by some ‘substantial identity of facts or

 12
    Zafiro, 506 U.S. at 540.
 13
    United States v. Lane, 474 U.S. 438, 449 (1986) (citing Bruton v. United States, 391 U.S. 123, 134 (1968)).
 14
    Kotteakos v. United States, 328 U.S. 750, 773 (1946).
 15
    United States v. Harrelson, 754 F.2d 1153, 1175 (5th Cir. 1985).
 16
    United States v. Krenning, 93 F.3d 1257, 1266 (5th Cir. 1996) (citing United States v. Lindell, 881 F.2d 1313,
 1318 (5th Cir. 1989) (“The fact that an indictment does not charge each appellant with active participation in each
 phase of the conspiracy does not constitute misjoinder.”)).
 17
    United States v. Krout, 66 F.3d 1420, 1429 (5th Cir. 1995); Ellender, 947 F.2d at 754 (“Joinder of defendants is
 particularly appropriate when conspiracy is one of the charges.”); see also United States v. Hundley, No. S3-02-CR-
 441, 2003 WL 21537774, at *2 (S.D.N.Y. July 7, 2003) (“the indictment can also be read as alleging that these
 defendants were engaged in a broad scheme to enrich themselves and their associates by any fraudulent means
 required”).
 18
    United States v. Elam, 678 F.2d 1234, 1247 (5th Cir. 1982); United States v. Phillips, 664 F.2d 971, 1016 (5th Cir.
 1981) (“It is well settled that joinder under Rule 8(b) is proper where an indictment charges multiple defendants
 with participation in a single conspiracy and also charges some but not all of the defendants with substantive counts
 arising out of the conspiracy.”).
 19
    United States v. DeLeon, 641 F.2d 330, 337 (5th Cir. 1981).

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 participants.’”20

         In fact, if the indictment’s allegations, assumed to be true by the court, establish a single

 conspiracy, there cannot be “inherent prejudice” to the defendants in a joint trial.21 To determine

 whether an indictment charges separate conspiracies or a single conspiracy, a court must decide

 whether the facts as alleged “reveal a substantial identity of facts or participants,” and the court

 should hold that a single conspiracy exists when the indictment adequately demonstrates a

 singular conspiratorial objective.22 The focus is on the “dimensions of the alleged illegal

 agreement to pursue a common purpose or goal or to achieve various objectives.”23

         The Fifth Circuit looks to the following factors in considering a claim of singular versus

 multiple conspiracies:

         (1) the time frame; (2) the locations of the events charged as part of the
         conspiracy; (3) the persons acting as co-conspirators; (4) the statutory offenses
         charged in the indictment; and (5) the overt acts or other description of the offense
         charged that indicate the nature and scope of the activity that the government
         seeks to punish in the case.24

 The indictment need not charge every defendant with active participation in each phase of the

 conspiracy,25 but overlapping membership in various activities may indicate a “single continuing

 plan or scheme.”26 “Seemingly independent transactions may be revealed as parts of a single

 conspiracy by their place in a pattern of regularized activity involving a significant continuity of


 20
    United States v. Dennis, 645 F.2d 517, 520 (5th Cir. 1981).
 21
    United States v. Grassi, 616 F.2d 1295, 1302 (5th Cir. 1980).
 22
    Lindell, 881 F.2d at 1318 (where the conspiratorial objective was a large-scale narcotics transaction); see also
 Krenning, 93 F.3d at 1266-67 (where “the indictment did not allege multiple conspiracies, but rather a single scheme
 with multiple purposes”).
 23
    United States v. Erwin, 793 F.2d 656, 662 (5th Cir. 1986).
 24
    Ellender, 947 F.2d at 759.
 25
    Lindell, 881 F.2d at 1318; Elam, 678 F.2d at 1246-47 (“for the purpose of determining whether a single
 conspiracy exists, a common plan does not become several plans simply because some members are cast in more
 vital roles than others or because certain members perform only a single, minor function”).
 26
    DeLeon, 641 F.2d at 334; but see United States v. Welch, 656 F.2d 1039, 1049 (5th Cir. 1981) (“It is clear that
 defendants charged with two separate albeit similar conspiracies having one common participant are not, without
 more, properly joined.”).

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 membership.”27 Importantly, mere absence of particular defendants, even from entire episodes

 or whole phases of an alleged conspiracy, does not constitute misjoinder.28

         Nor is it necessary that the indictment charge that a defendant knew, or knew of, all the

 participants in the conspiracy, or details of the conspiracy, so long as it alleges knowledge of the

 conspiracy's essential nature.29 “[W]here it is shown that a single ‘key man’ was involved in and

 directed illegal activities, while various combinations of other defendants exerted individual

 efforts toward a common goal, a finding of the existence of a single conspiracy is warranted.”30

 If the indictment sufficiently alleges a “concert of action unified by a common purpose,” then it

 is proper to characterize the allegations as a single conspiracy.31 The Fifth Circuit explained:

         Where the activities of one aspect of the scheme are necessary or advantageous to
         the success of another aspect of the scheme or to the overall success of the
         venture, where there are several parts inherent in a larger common plan, or where
         the character of the property involved or the nature of the activity is such that
         knowledge on the part of one member concerning the existence and function of
         other members of the same scheme is necessarily implied due to the overlapping
         nature of the various roles of the participants, the existence of a single conspiracy
         will be inferred.

         If multiple separate conspiracies are alleged in one indictment, a court’s inquiry into the

 propriety of joinder must go one step further. Then, the trial court must focus on whether the

 alleged conspiracies are part of the same series of acts or transactions, even if they do constitute

 separate conspiracies.32 The Fifth Circuit has held that joinder of defendants under Rule 8(b) is

 proper “where the record, examined broadly, presents two conspiracies substantially interrelated


 27
    Grassi, 616 F.2d at 1303.
 28
    See United States v. Pofahl, 990 F.2d 1456, 1483 (5th Cir. 1993).
 29
    Lindell, 881 F.2d at 1318 (emphasis added); Elam, 678 F.2d at 1246 (“We do not imply that the various members
 of a conspiracy which functions through a division of labor must have an awareness of the existence of the other
 members, or be privy to the details of each aspect of the conspiracy”).
 30
    Lindell, 881 F.2d at 1318; Elam, 678 F.2d at 1247 (“Despite the fact that many of the co-conspirators each
 performed discrete tasks, and may even have been totally unaware of the precise roles played by other members of
 the criminal enterprise, the jury could have reasonably found that there was a single conspiracy in existence”).
 31
    Elam, 678 F.2d at 1246.
 32
    Welch, 656 F.2d at 1049.

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 by their facts and participants.”33 In fact, separate conspiracies even with different memberships

 may be joined together in one indictment if they are part of the “same series of acts or

 transactions” so as to satisfy Rule 8(b).34 The Fifth Circuit has held that:

          Whether the counts of an indictment fulfill the “same series” requirement is
          determined by examining “the relatedness of the facts underlying each offense....
          [W]hen the facts underlying each offense are so closely connected that proof of
          such facts is necessary to establish each offense, joinder of defendants and
          offenses is proper.” When there is no “substantial identity of facts or participants
          between the two offenses, there is no ‘series’ of facts under Rule 8(b).”35

          The Fifth Circuit has repeatedly approved of joinder of multiple counts and defendants

 under the umbrella of an “overarching” or “broad” conspiracy.36 In the instant case, the

 Government asserts that the “test” for measuring proper joinder is the realization that every

 charged Defendant, regardless of how charged, engaged in an overarching scheme “[t]o give,

 withhold, or receive official governmental acts and influence with respect to affordable housing

 tax credit projects in Dallas in exchange for money and property to [sic] which the participants in

 the conspiracy were not entitled to receive, and to conceal the illegal nature of their conduct.”

          B. Rule 14 Severance as Relief from Prejudicial Joinder

          Rule 14 differs from Rule 8 in application and standard of review. Rule 14 provides the

 trial court with flexibility in its management of the case when a joint trial may appear to risk


 33
    United States v. Kaufman, 858 F.2d 994, 1003 (5th Cir. 1988); United States v. Toro, 840 F.2d 1221, 1238 (5th
 Cir. 1988) (“We have held that separate conspiracies with different memberships may be joined if they are part of
 the same series of acts or transactions… Examined broadly, the record presents two conspiracies substantially
 interrelated by their facts and participants, rather than two separate and distinct conspiracies.”).
 34
    Harrelson, 754 F.2d at 1176; Grassi, 616 F.2d at 1303.
 35
    Harrelson, 754 F.2d at 1176-77 (citations omitted) (emphasis added); Welch, 656 F.2d at 1049; United States v.
 Gentile, 495 F.2d 626, 630 (5th Cir. 1974).
 36
    See, e.g., Krenning, 93 F.3d at 1266-67 (where the court found that “the indictment did not allege multiple
 conspiracies, but rather a single scheme with multiple purposes;” evidence underlying the counts was relevant to an
 “overall scheme to defraud”); Kaufman, 858 F.2d at 1003 (where the court found a “general conspiracy to import
 and profit from the trafficking of marijuana,” and allowed joinder of two counts under the umbrella of a “single
 overarching conspiracy” because one importation conspiracy could be viewed as a “contingency plan” in relation to
 the other importation conspiracy); Dennis, 645 F.2d at 520-21 (where the court found a “basic plan” that connected
 multiple transactions underlying the separate counts in the indictment, despite the fact that the government did not
 charge a conspiracy in the indictment to connect the separate counts).

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 creating prejudice to a party.37 As a result, severance under Rule 14 is based on the trial court’s

 discretion.38 In contrast, Rule 8(b) “requires the granting of a motion for severance unless its

 standards are met, even in the absence of prejudice.”39

          In deciding a Rule 14 motion for severance, the trial court must “balance the right of the

 defendant to a fair trial, keeping in mind the possibility of prejudice in a joint trial, against the

 public’s interest in efficient and economic administration of justice, and sever defendants as the

 needs of justice dictate.”40 When defendants are properly joined under Rule 8, the court should

 only grant severance under Rule 14 if a joint trial would compromise a specific legal right of one

 of the defendants, or prevent the jury from making a reliable determination of guilt or

 innocence.41 The court should evaluate whether the members of the jury can individualize each

 defendant in relation to the other joined defendants.42 The Fifth Circuit, in United States v.

 Welch, provided a test for discretionary severance under Rule 14:

          …[T]he burden is upon the defendant to show clear prejudice. The general test is:
          (W)hether [sic] under all the circumstances of the particular case, as a practical
          matter, it is within the capacity of the jurors to follow the court’s admonitory
          instructions and accordingly to collate and appraise the independent evidence
          against each defendant solely upon that defendant’s own acts, statements and
          conduct. In sum, can the jury keep separate the evidence that is relevant to each
          defendant and render a fair and impartial verdict as to him? If so, though the task
          be difficult, severance should not be granted.43

          The general rule is that persons indicted together should be tried together, especially in

 conspiracy cases.44 Consequently, the bar is high for defendants requesting severance under

 Rule 14. The Fifth Circuit has held that a quantitative disparity in the evidence “is clearly
 37
    Lane, 474 U.S. at 440 n.12.
 38
    Zafiro, 506 U.S. at 538-39 (“Rule 14 does not require severance even if prejudice is shown; rather, it leaves the
 tailoring of the relief to be granted, if any, to the district court's sound discretion.”).
 39
    Id.
 40
    Phillips, 664 F.2d at 1016 (citing United States v. Morrow, 537 F.2d 120, 136 (5th Cir. 1976)).
 41
    Zafiro, 506 U.S.at 539.
 42
    Phillips, 664 F.2d at 1017.
 43
    Welch, 656 F.2d at 1053-54.
 44
    Pofahl, 990 F.2d at 1483.

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 insufficient in itself to justify severance.”45 Also, the mere presence of a spillover effect does not

 ordinarily require severance.46 In fact, to prevail based on the prejudicial spillover of evidence, a

 defendant must show that “a miscarriage of justice looms.”47

          If the trial court denies a defendant severance under Rule 14, reversal is warranted only if

 the appellant can demonstrate compelling prejudice against which the trial court was unable to

 afford protection, such as providing limiting instructions to the jury.48 The district court in

 Dillard explained:

          [W]hen one conspiracy exists, severance is not required, even where the quantum
          and nature of the proof in each case is different, so long as the trial court
          repeatedly gives cautionary instructions. Indeed, “[i]f the jury can keep separate
          the evidence that is relevant to each defendant, even if the task is difficult, and
          render a fair and impartial verdict as to each defendant, a severance should not be
          granted.”49

 Ordinarily, traditional safeguards will remedy the risk of prejudice from joinder.50 The

 Supreme Court observed that “[w]hen the risk of prejudice is high, a district court is more

 likely to determine that separate trials are necessary, but… less drastic measures, such as

 limiting instructions, often will suffice to cure any risk of prejudice.”51 Other procedural

 safeguards include:

           (i) clear rulings on admissibility, (ii) limitations of the bearing of evidence as
          against particular individuals, and (iii) adequate instructions. The [Supreme]
          Court emphasized that these are “extremely important * * * safeguards (which
          must) be made as impregnable as possible.”52

          However, the trial court cannot simply presume that prejudice will result, without

 45
    Id.
 46
    Id.
 47
    United States v. Dillard, No. 5:07cr17-DCB-JCS, 2007 WL 3326833, at *3 (S.D. Miss. Nov. 6, 2007) (citing
 United States v. Ramirez, 145 F.3d 345, 355 (5th Cir.1998)).
 48
    Id.
 49
    Dillard, 2007 WL 3326833, at *4 (citations omitted) (emphasis added).
 50
    Zafiro, 506 U.S. at 539.
 51
    Id.
 52
    United States v. Perez, 489 F.2d 51, 66 (5th Cir. 1974) (citing Blumenthal v. United States, 332 U.S. 539, 559
 (1947)).

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 requiring the defendant to identify specific prejudice that will result from continued joinder. “To

 say that the jury might have been confused amounts to nothing more than an unfounded

 speculation that the jurors disregarded clear instructions of the court in arriving at their verdict.

 Our theory of trial relies upon the ability of a jury to follow instructions.”53 The Defendants in

 the case at hand assert a number of claimed bases for prejudice: the spillover effect of large

 quantities of evidence; potential violations of the Confrontation Clause through the use of out-of-

 court statements by co-conspirators; the presence of antagonistic defenses at trial; and the use of

 evidence that would be inadmissible or irrelevant in a separate trial (each addressed in greater

 detail below).

          1.    Spillover Effect

          Criminal defendants indicted and tried together often claim prejudice resulting from the

 spillover effect; that is, prejudice that may result from the introduction of evidence at trial

 relating to co-conspirators that is irrelevant to a particular defendant, such as evidence of the co-

 defendants’ other crimes or bad conduct. The concern is that such evidence spills over to the

 other defendant and is improperly weighed against him.54 However, the Fifth Circuit has held

 that the mere presence of a spillover effect does not require severance,55 and also that evidence

 of the bad reputation or past crimes of a co-defendant does not ordinarily justify severance.56


 53
    United States v. Harris, 458 F.2d 670, 673-74 (5th Cir. 1972) (emphasis added).
 54
    See, e.g., Ellender, 947 F.2d at 753. In Ellender, the two appellants and twenty-one other defendants were tried
 together on charges of conspiracy to import over one million pounds of marijuana in four drug operations. The
 criminal trial lasted three months, and seventy-three witnesses testified. Appellants argued that “they were
 prejudiced by the ‘spill-over’ effect of the evidence presented against their co-defendants, which they claim was not
 relevant to the charges brought against them.” The trial court denied the appellants’ motions for severance, and the
 Fifth Circuit affirmed, concluding that “appellants have not established the compelling prejudice necessary to
 succeed on this [Rule 14] claim.” See also Pofahl, 990 F.2d at 1482; and Harrelson, 754 F.2d at 1174 (where
 “[appellant] contends that she suffered compelling prejudice by standing trial with [another defendant] because
 evidence relating only to him, i.e., his prior criminal record, his reputation as a murderer for hire, and, in general, his
 extraordinarily unsavory character, ‘spilled over’ onto her.”).
 55
    Krenning, 93 F.3d at 1267 (5th Cir. 1996); Krout, 66 F.3d at 1430.
 56
    Harrelson, 754 F.2d at 1178.

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          Similarly, a quantitative disparity in the amount of evidence offered against one

 defendant in relation to other co-defendants is also normally insufficient to warrant severance

 under Rule 14,57 except in extreme cases where the defendant shows both a quantitative and a

 qualitative disparity in the evidence, such that limiting instructions would be ineffective.58

 United States v. Erwin is one example of a disparity the Fifth Circuit found to mandate severance

 under Rule 14, where there was “mountainous evidence” introduced at trial that did not pertain to

 a defendant, whose charges the Fifth Circuit characterized as being “peripherally related to those

 alleged against the other appellants.”59 In reversing, the Fifth Circuit found that “[t]he prejudice

 [the defendant] suffered from the joint trial, then, far outweighed any benefit of judicial

 economy.”60

          However, the Fifth Circuit generally finds that the spillover problem is remediable by

 limiting instructions, explaining: “The pernicious effect of cumulation... is best avoided by

 precise instructions to the jury on the admissibility and proper uses of the evidence introduced by

 the Government.”61 For example, in United States v. Phillips, the Fifth Circuit held that the trial

 court adequately protected against any potential spillover effect by specifically instructing the

 jury to consider each offense separately, and each defendant individually.62 In Phillips, the

 defendant was named in only nineteen of the four hundred and seven overt acts and in six of the

 thirty six counts in the indictment, and the testimony pertaining to him only appeared on one

 57
    Pofahl, 990 F.2d at 1482 (where the defendant filed a Rule 14 motion to sever, claiming unfair prejudice due to
 “the sheer number of defendants and counts in the indictment, the complexity and interrelatedness of issues, and the
 maze of evidentiary problems.” The defendant argued that the “amount of evidence offered against him was far less
 than the evidence offered against his co-defendants,” but the Fifth Circuit held that a quantitative disparity in the
 evidence “is clearly insufficient in itself to justify severance.”).
 58
    Harrelson, 754 F.2d at 1175 (“In quantitative terms, the amount of evidence offered against [appellant] was
 minimal compared to that offered against [co-defendant]. This is clearly insufficient in itself to justify severance
 (citation omitted); a qualitative disparity must be shown as well.”).
 59
    Erwin, 793 F.2d at 666.
 60
    Id.
 61
    Harrelson, 754 F.2d at 1175 (citations omitted).
 62
    Phillips, 664 F.2d at 1017.

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 hundred twenty of the twelve thousand pages of trial testimony,63 but the Fifth Circuit still found

 joinder to be proper.

         2. Confrontation Clause

         The Confrontation Clause of the Sixth Amendment provides that: “In all criminal

 prosecutions, the accused shall enjoy the right…to be confronted with the witnesses against

 him.”64 The United States Supreme Court has deemed this fundamental right65 a “bedrock

 procedural guarantee,”66 which precluded the use of certain out-of-court statements that the

 defendant could not later attack at trial. The Supreme Court originally conditioned the

 admissibility of out-of-court statements on whether they fell under a “firmly rooted hearsay

 exception” or had “particularized guarantees of trustworthiness.”67 However, the Supreme Court

 retreated from this approach as applied to testimonial out-of-court statements in Crawford v.

 Washington. The Supreme Court stated:

         Where nontestimonial hearsay is at issue, it is wholly consistent with the Framers’
         design to afford the States flexibility in their development of hearsay law-as does
         Roberts, and as would an approach that exempted such statements from
         Confrontation Clause scrutiny altogether. Where testimonial evidence is at issue,
         however, the Sixth Amendment demands what the common law required:
         unavailability [of the witness] and a prior opportunity for cross-examination [of
         the witness].68

 Although it did not provide a comprehensive definition of “testimonial,” the Supreme Court

 noted in a footnote that the term “applies at a minimum to prior testimony at a preliminary

 hearing, before a grand jury, or at a former trial; and to police interrogations.”69 Some lower

 courts have interpreted Crawford to require an “official” element to find a “testimonial

 63
    Id. at 1017 n.68.
 64
    U.S. CONST. AMEND. VI.
 65
    Pointer v. Texas, 380 U.S. 400, 403 (1965).
 66
    Crawford v. Washington, 541 U.S. 36, 42 (2004).
 67
    Ohio v. Roberts, 448 U.S. 56, 66 (1980).
 68
    Crawford, 541 U.S. at 68 (emphasis added).
 69
    Id. at 68 n.10.

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 statement.”70

          Non-testimonial statements are governed by the Federal Rules of Evidence and rules

 concerning reliability, rather than the Confrontation Clause.71 The Fifth Circuit has held that

 “[s]tatements made between co-conspirators in furtherance of a conspiracy are not testimonial.”72

 Such statements “are by their nature generally nontestimonial and thus are routinely admitted

 against an accused despite the absence of an opportunity for cross-examination.”73 Despite the

 fact that these statements are typically made out-of-court and would otherwise constitute

 inadmissible hearsay, Federal Rule of Evidence 801 provides: “A statement is not hearsay if ...

 [t]he statement is offered against a party and is ... a statement by a coconspirator of a party

 during the course and in furtherance of the conspiracy.”74 Prior to Crawford, the Supreme Court,

 in addressing this co-conspirator exception to the hearsay rule, found it “firmly enough rooted in

 our jurisprudence that, under this Court's holding in Roberts, a court need not independently

 inquire into the reliability of such statements.”75

          The rationale for the co-conspirator exception “is the notion that conspirators are partners

 in crime… As such, the law deems them agents of one another. And just as the declarations of an

 agent bind the principal only when the agent acts within the scope of his authority, so the

 declaration of a conspirator must be made in furtherance of the conspiracy charged in order to be


 70
    See, e.g., Guilbeau v. Cain, No. 05-1399, 2007 WL 2478888, at *8 (W. D. La. July 31, 2007) (unpublished)
 (where court held that statements were non-testimonial because they were not made to the police or in the course of
 an official investigation); United States v. Savoca, 335 F. Supp. 2d 385, 392 (S.D.N.Y. 2004) (where court held that
 statements were non-testimonial because they were made to an acquaintance who had no connection to any law
 enforcement official or proceeding and they were not formal statements made to a government official).
 71
    United States v. Holmes, 406 F.3d 337, 348 (5th Cir. 2005) (“With respect to nontestimonial statements, however,
 Crawford leaves in place the Roberts approach to determining admissibility,” i.e. “whether the statement falls within
 a firmly rooted hearsay exception or bears particularized guarantees of trustworthiness.”); see also United States v.
 King, 541 F.3d 1143, 1145 (5th Cir. 2008) (“Crawford only bars out-of-court statements that are testimonial.”).
 72
    King, 541 F.3d at 1145-46 (citing Crawford, 541 U.S. at 56) (emphasis added); see also Holmes, 406 F.3d at 348.
 73
    Holmes, 406 F.3d at 348.
 74
    FED. R. EVID. 801(d)(2)(E).
 75
    Bourjaily v. United States, 483 U.S. 171, 183 (1987).

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 admissible against his partner.”76 Therefore, at least in the Fifth Circuit, if prior to its admission

 the Government demonstrates that an out-of-court statement was made (1) by a co-conspirator,

 (2) during the course of the conspiracy, and (3) in furtherance of the conspiracy, then the

 limitations of the Confrontation Clause will not apply to the statement's admissibility as to all co-

 conspirators.77

          The existence of a conspiracy, and therefore the admissibility of proffered out-of-court

 statements, is a preliminary determination made by the Court under Federal Rule of Evidence

 104.78 As the Supreme Court has expressed, “there is little doubt that a co-conspirator's

 statements could themselves be probative of the existence of a conspiracy and the participation

 of both the defendant and the declarant in the conspiracy.”79 The Fifth Circuit has elaborated on

 the process for determining admissibility, explaining that “[i]n order to admit a coconspirator's

 declaration in this circuit the district judge must first determine that there is substantial,

 independent evidence of a conspiracy. In the alternative, he may admit the statement subject to

 its being connected up.”80 This evidentiary determination is often referred to as a “James

 determination” or a “James hearing.” In United States v. James, the Fifth Circuit explained that

 “although the phrase ‘in furtherance of the conspiracy’ has a talismanic ring to it, it must not be



 76
    Anderson v. United States, 417 U.S. 211, 219 n.6 (1974).
 77
    See Bourjaily, 483 U.S. at 183 (citing Delaney v. United States, 263 U.S. 586, 590 (1924), for the proposition that
 “there can be no separate Confrontation Clause challenge to the admission of a co-conspirator’s out-of-court
 statement.”). Of course, if the statement is not offered “to prove the truth of the matter asserted,” then it will not
 constitute hearsay in the first instance, and the requirements of the co-conspirator exception need not be met.
 78
    See id. at 175 (“Before admitting a coconspirator's statement over an objection that it does not qualify under Rule
 801(d)(2)(E), a court must be satisfied that the statement actually falls within the definition of the Rule. There must
 be evidence that there was a conspiracy involving the declarant and the nonoffering party, and that the statement was
 made ‘during the course and in furtherance of the conspiracy.’ Federal Rule of Evidence 104(a) provides:
 ‘Preliminary questions concerning ... the admissibility of evidence shall be determined by the court.’ Petitioner and
 the Government agree that the existence of a conspiracy and petitioner’s involvement in it are preliminary questions
 of fact that, under Rule 104, must be resolved by the court.”).
 79
    Id. at 180.
 80
    United States v. Peacock, 654 F.2d 339, 349 n.1 (5th Cir. 1981) (overruled in part, only as to applicability of
 forfeiture to proceeds of racketeering activity) (citation omitted).

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 applied too strictly or the purpose of the exception would be defeated.”81 For example, the Fifth

 Circuit has held that statements (1) identifying a fellow conspirator,82 (2) concerning instructions

 and details of the criminal transaction,83 (3) informing others of the conspiracy’s success,84 and

 (4) discussing a co-conspirator’s danger to others,85 all qualify as being “in furtherance” of the

 alleged conspiracy. However, statements made in idle conversation between co-conspirators are

 not admissible under Rule 801(d)(2)(E).86 An example of this distinction comes from James,

 where, in response to another conspirator’s question regarding why two people were present, a

 co-conspirator stated that they were acting as lookouts for the police. The Fifth Circuit found

 that these statements were not mere conversation, but qualified as statements made “in

 furtherance of the conspiracy,” because the speaker was acting “in the interests of the

 conspiracy” by allaying a co-conspirator’s suspicions about the presence of the other persons.87

          Additionally, to succeed on a claim that the Confrontation Clause is being violated, the

 defendant must also demonstrate that a particular statement is being offered “against” him at

 trial.88 In United States v. Harper, the Fifth Circuit interpreted Crawford to limit the application

 of the Confrontation Clause to witnesses against the accused, or to those who “bear testimony”

 against the accused, stating:


 81
    United States v. James, 510 F.2d 546, 549 (5th Cir. 1975) (citing United States v. Patton, 594 F.2d 444, 447 (5th
 Cir.1979) and E. Cleary, McCormick On Evidence 793 (3rd ed.1984), for the proposition that “literally applied, the
 ‘in furtherance’ requirement calls for general exclusion of statements possessing evidential value solely as
 admissions, yet in fact more emphasis seems to be placed upon the ‘during continuation’ aspect and any statement
 so qualifying in point of time may be admitted in evidence without much regard to whether it in fact furthered the
 conspiracy”).
 82
    Lindell, 881 F2d at 1320.
 83
    United States v. Galindo, No. 07-50316, 2007 WL 4015308, at *6 (5th Cir. Nov. 16, 2007) (unpublished).
 84
    Peacock, 654 F.2d at 350.
 85
    Id.
 86
    Phillips, 664 F.2d at 1027 (citing James, 510 F.2d at 549).
 87
    James, 510 F.2d at 549-50. The suspicious co-conspirator was actually a government agent, but the Fifth Circuit
 focused on the speaker’s perception of the agent’s involvement in the crime, finding that the speaker considered the
 agent to be a full-fledged partner in the crime, and therefore his statements allaying her fears were made in
 furtherance of the criminal conspiracy even if the agent was not actually a member of the conspiracy.
 88
    United States v. Harper, 527 F.3d 396, 402 (5th Cir. 2008).

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          Ordinarily, a witness is considered to be a witness “against” a defendant for
          purposes of the Confrontation Clause only if his testimony is part of the body of
          evidence that the jury may consider in assessing his guilt… [O]rdinarily, a
          witness whose testimony is introduced at a joint trial is not considered to be a
          witness “against” a defendant if the jury is instructed to consider that testimony
          only against a codefendant.89

 The Fifth Circuit went on to explain that:

          Out-of-court statements of a non-testifying witness that only inferentially
          incriminate a defendant when linked to other evidence introduced at trial do not
          violate the Sixth Amendment because an instruction not to consider such a
          statement will be considered effective to remove it from the jury's consideration.
          But statements that obviously incriminate a defendant, involve an inference that a
          jury could make immediately without hearing other evidence, and that a judge
          could easily predict prior to trial, before hearing any evidence, would be barred
          under the rationale of Bruton, do violate the Confrontation [C]lause.90

 The court’s focus should be on the “kind of” inference, not “the simple fact of, [an] inference”

 when deciding if a particular statement violates the Confrontation Clause.91 For example, in

 Harper, the district court allowed the government to introduce statements made by one defendant

 admitting ownership of weapons and narcotics found by police in the house, over the objections

 of his co-defendant, but instructed the jury not to consider these statements against the objecting

 co-defendant. The Fifth Circuit found that admission of these statements did not violate the

 Sixth Amendment, because they “did not directly or obviously implicate [the objecting co-

 defendant] … until other evidence, such as the fact that [the objecting co-defendant] … lived in

 the same house as [the speaker]… was introduced.”92 These statements did not facially

 incriminate the co-defendant, and did not refer to the existence of the co-defendant, or of any

 other person.93 Since the alleged inculpation from the out-of-court statements led to an indirect

 inference, one that required other evidence to link the co-defendant to the statements, then a

 89
    Id. at 401-02 (citations omitted) (emphasis added).
 90
    Id. at 403 (emphasis added).
 91
    Id. at 405.
 92
    Id. at 406.
 93
    Id. at 405.

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 limiting instruction was likely “successful in dissuading the jury from entering onto the path of

 inference in the first place, so that there is no incrimination to forget.”94

          In short, to present a viable Confrontation Clause claim, and thereby demonstrate specific

 prejudice to warrant severance under Rule 14, a defendant must demonstrate the anticipated use

 of (1) testimonial statements, (2) offered directly against the defendant, where (3) the declarant

 is unavailable for cross-examination. Of course, non-testimonial statements may still be objected

 to under the Federal Rules of Evidence.

          3. Antagonistic Defenses

          One defendant in a joint trial with multiple defendants may be able to show specific

 prejudice by demonstrating that he plans to present at trial a defense antagonistic to that of some

 or all of his co-defendants. However, “[t]o justify severance ... the defenses must be more than

 merely antagonistic; they must be irreconcilable and mutually exclusive.”95 For example, in

 United States v. Kaufman, the Fifth Circuit held that the use of an entrapment defense by other

 co-defendants did not impair the appellants’ ability to receive a fair trial when their defense was

 premised on lack of participation in the conspiracy, because the other defendants “may have

 admitted being part of a conspiracy, [but] it does not follow that the jury would have been

 required to exclude the defense of [appellants] that they were not part of that conspiracy.”96

          In United States v. Matthews, the Fifth Circuit also noted that even when co-defendants

 94
    Id. at 406-07. The Fifth Circuit did caution in Harper that it would have been better to keep one particular
 statement from the jury, where the speaker stated he was unaware of drugs that were found in the microwave in his
 home, as this statement “obliquely refer[red] to the existence of someone else,” and thereby came closer to directly
 implicating the co-defendant, who lived with the speaker. However, the court still found that the district court could
 properly assume that the jury, as instructed, did not use the statements against the objecting co-defendant, and
 properly admit the statement.
 95
    Kaufman, 858 F.2d at 1004 (citing Toro, 840 F2d at 1238).
 96
    Id.; see also Toro, 840 F.2d at 1238 (where the appellant denied participation in the conspiracy but his co-
 defendant used an entrapment defense, the Fifth Circuit explained that, in order for the two defenses to be
 antagonistic, “we must find that if the jury could believe that [the co-defendant] was entrapped, then it could not
 believe that [appellant] was not guilty,” in other words, that the jury’s belief of one defense would make it
 impossible for the jury to believe the other defense).

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 present mutually antagonistic defenses, severance is not automatically required.97 In Matthews,

 the co-defendants accused each other of shooting the victim, so “each [d]efendant’s defense

 strategy was to implicate the other.” The appellant argued that “he was ‘facing an extra

 prosecutor’ in [co-defendant’s] attorney which resulted in severe prejudice requiring a

 severance.”98 The Fifth Circuit held that “[a]ssuming without deciding that the Defendants’

 defenses were mutually antagonistic, the court’s limiting instructions were sufficient to cure any

 prejudice.”99 The Fifth Circuit explained that because mutually antagonistic defenses are not

 prejudicial per se, Rule 14 allows the district court to tailor whatever remedy may be necessary

 to alleviate the risk of prejudice, and the district court did not abuse its discretion in allowing the

 joint trial and instructing the jury to consider each count and each defendant separately.100

          As a result, to succeed on a motion to sever based on the likelihood of antagonistic

 defenses at trial, Defendants must show that their defenses are “irreconcilable and mutually

 exclusive,” so that if the jury believes one defense, it cannot conceivably believe the other

 defenses, and that the potential prejudice caused by such varying defenses cannot be cured by a

 limiting instruction.

          4. Admissibility of Evidence in Separate Trial

          The United States Supreme Court explained in Zafiro v. United States that:

          [W]hen defendants properly have been joined under Rule 8(b), a district court
          should grant a severance under Rule 14 only if there is a serious risk that a joint
          trial would compromise a specific trial right of one of the defendants, or prevent
          the jury from making a reliable judgment about guilt or innocence. Such a risk
          might occur when evidence that the jury should not consider against a defendant
          and that would not be admissible if a defendant were tried alone is admitted
          against a codefendant.101

 97
    United States v. Matthews, 178 F.3d 295, 299 (5th Cir. 1999) (citing Zafiro, 506 U.S. at 538-39).
 98
    Id. at 298.
 99
    Id. at 299.
 100
     Id.
 101
     Zafiro, 506 US at 539.

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 The Supreme Court provided three examples of when such specific prejudice might occur: (1)

 where “evidence of a codefendant's wrongdoing in some circumstances erroneously could lead a

 jury to conclude that a defendant was guilty;” (2) where “[e]vidence that is probative of a

 defendant’s guilt but technically admissible only against a codefendant” is admitted; and (3) if

 “essential exculpatory evidence that would be available to a defendant tried alone were

 unavailable in a joint trial.”102 To prevail under Rule 14, a defendant must demonstrate that such

 evidence is expected to be introduced, and that any prejudice resulting therefrom will be

 incurable by a limiting instruction.

                                                 Analysis

        1. Defendant Hodge’s Motion for Relief from Misjoinder Under Rule 8 and Prejudicial
           Joinder Under Rule 14

             The Court now addresses the first issue, raised in Hodge’s Motion for Relief from

 Misjoinder, of whether Counts 10 and 15 are sufficiently related to Counts 1-9 and Counts 21-25

 for a joint trial. The Court finds that Counts 1-9 and Counts 21-25 do not allege participation by

 Hodge and the Potashniks in the same or series of act(s) or transaction(s), as are the core of the

 remaining Counts, as required by Rule 8(b), and therefore must be severed.

             Hodge argues that joinder of Counts 1-9 and 21-25 with those pertaining solely to the

 other Defendants is improper under Rule 8(b), or in the alternative, prejudicial to her under Rule

 14, thereby warranting severance of the entire case against her from the other Defendants. Rule

 8(b) requires the Court to determine the propriety of joinder of multiple defendants, by looking

 to the substance of the counts in an indictment.




 102
       Id.

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          The issue of misjoinder under Rule 8 is a matter of law for the Court.103 In United States

 v. Welch, the Fifth Circuit examined the propriety of joining multiple defendants charged with

 separate and distinct conspiracies, and explained that under Rule 8(b), “[s]eparate conspiracies

 with different memberships may still be joined if they are part of the same series of acts or

 transactions.”104 The Court is to analyze “the relatedness” of the facts underlying each offense,

 and determine if they are “so closely connected that proof of such facts is necessary to establish

 each offense,” so that joinder of the defendants and of the offenses is proper.105 However,

 similarity of the acts, by itself, is insufficient to prove that a “series” of acts exists.106

          Counts 1-9 and 21-25 are not part of the same or series of act(s) or transaction(s), as the

 remaining Counts. Count 1 alleges a conspiracy to commit bribery concerning a state

 government receiving federal benefits, in violation of 18 U.S.C. § 371. Counts 2-9 include the

 substantive offenses relating to this conspiracy charge, namely bribery concerning a state

 government receiving federal benefits and aiding and abetting, from 2001 to 2004. The facts

 underlying these charged offenses relate to payments allegedly made by the Potashniks toward

 Hodge’s rent, utility bills, and carpet installation at a home she owned, in exchange for support

 of their housing developments by Hodge in her official capacity as a State Representative.

          Counts 10-14 allege a conspiracy to commit bribery concerning a local government

 receiving federal benefits, in violation of 18 U.S.C. § 371, and the substantive offenses relating

 to this conspiracy charge, namely bribery concerning a local government receiving federal

 benefits and aiding and abetting, from 2003 to 2004. The facts underlying these charged

 offenses relate to the Potashniks’ alleged payment of bribes to Dallas City Councilman Hill and


 103
      Welch, 656 F.2d at 1049.
 104
      Id. (citing Grassi, 616 F.2d at 1303).
 105
     See id. (citing Gentile, 495 F.2d at 630).
 106
      Id.

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 Dallas City Plan and Zoning Commissioner Lee, through false invoices submitted under sham

 consulting agreements, in exchange for Hill and Lee’s official support of their housing

 developments.

        Counts 15-17 allege a conspiracy to commit extortion, in violation of 18 U.S.C. § 1951,

 and the substantive offenses relating to this conspiracy charge, namely extortion by public

 officials and aiding and abetting, from August 2004, to June 2005. The facts underlying these

 charged offenses relate to the alleged use of official acts by Hill and Lee to pressure an

 unindicted affordable housing developer to provide things of value in exchange for Hill and

 Lee’s official actions, and the use of sham written agreements and front companies by Reagan,

 McGill, Rashad, Robertson, Spencer, Slovacek, Dean and Lewis to further and to conceal the

 illegal nature of these extortionate demands.

        Count 18 alleges a conspiracy to commit deprivation of honest services by wire fraud.

 The facts underlying this Count involve the alleged use of wire communications to conceal Hill

 and Lee’s financial interest in various real estate projects that benefited from the use of their

 official positions. Finally, Counts 19 and 20 charge various Defendants with conspiracy to

 commit money laundering, and the underlying facts involve financial transactions using the

 proceeds of the bribery and extortion alleged in Counts 11-14 and Counts 16-17.

        Generally, each set of Counts alleges a chain of events in an overarching conspiracy to

 bribe public officials, or extortion by the same public officials. Counts 2-9, 11-14 and 16-17

 encompass the substantive offenses underlying the conspiracies alleged in Counts 1, 10 and 15,

 and Counts 19-20 allege the money laundering that occurred with the proceeds from these

 substantive offenses. However, the facts underlying Counts 1-9 are unrelated to the facts

 underlying the remaining Counts. Mere similarity of the acts is not enough to prove a “series” of


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 acts as required by Rule 8.107

          In Welch, the Fifth Circuit held that the defendants allegedly involved in two distinct

 gambling conspiracies, one at a farmhouse and one at a fairground, were properly joined under

 Rule 8(b). The indictment included a count that charged the defendants with an overarching

 substantive racketeering endeavor in violation of the Racketeer Influenced and Corrupt

 Organizations Act (RICO).108 The two conspiracies were charged as separate counts, but as

 predicate acts of the RICO charge in the indictment. The court held that:

          It is well settled that the joinder of otherwise separate acts may be allowed when
          the acts are properly linked by means of a conspiracy charge. The conspiracy
          charge can serve to provide the common nexus between the acts that is necessary
          in order to find that those acts are part of a series of acts or transactions.109

 Pointing to the substantive RICO Count, the court found that “the common goal [of] conducting

 the affairs of the [defendants’ office] by means of a pattern of racketeering provides a sufficient

 identity of facts to satisfy Rule 8(b).”110

          The Government asserts that the “test” for measuring proper joinder is whether every

 charged Defendant, regardless of how charged, engaged in an overall scheme to “give, withhold,

 or receive official governmental acts and influence with respect to affordable housing tax credit

 projects in Dallas in exchange for money and property to [sic] which the participants in the

 conspiracy were not entitled to receive, and to conceal the illegal nature of their conduct.” But

 even assuming this to be true, this Court is required to go beyond identifying one alleged

 overarching goal that connects each Count in the Indictment. It is simply not enough for the

 Government to allege bribery of public officials in exchange for support of public housing

 projects. The Fifth Circuit has clearly instructed courts to look also to the facts underlying the

 107
     Id.
 108
     Id.
 109
     Id. at 1051.
 110
     Id. at 1052.

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 Counts, and not solely to the nature or characterization of the Counts. For example, in Welch,

 the Fifth Circuit specifically observed that if separate trials on the challenged counts were

 required, “two trials with substantially identical evidence would have been necessitated.”111 The

 same cannot be said for this case.

          The facts underlying Counts 1-9 are sufficiently dissimilar from the facts underlying the

 remaining Counts to warrant severance of Hodge and the Potashniks under Rule 8(b). Proof of

 the facts underlying Counts 1-9 is not “necessary to establish each offense” alleged in Counts 10

 and 15. The evidence introduced to prove the alleged payment by the Potashniks of Hodge’s

 rent and utilities and for the carpet in her home will have little or no relevance to evidence of the

 Potashniks’ alleged payment of sham invoices to front companies to funnel bribes to Hill and

 Lee.112 The inclusion of the Potashniks in Counts 1-9 as well as in Counts 10-14 is insufficient

 to support joinder under Rule 8(b). It is not simply similarity of the parties that this Court must

 look to, but also to similarity of the facts.113

          The Government has not met the burden required by Rule 8(b). As a result, this Court is

 bound to order severance of Counts 1-9 and 21-25, and consequently of Hodge and the

 Potashniks, from the remaining Counts. Counts 1-9 will be tried separately, with Hodge and the

 Potashniks together in one trial. Under Rule 8(b), a joint trial of Hodge and the Potashniks on

 Counts 1-9 is proper because the charged conspiracy and underlying predicate acts clearly

 involve participation in the same series of acts and transactions by Hodge and the Potashniks, as



 111
     Id. (emphasis added); see also Krenning, 93 F.3d at 1266-67 (where the Fifth Circuit found the indictment in
 question alleged a single scheme with multiple purposes, and that evidence from the distinct counts was relevant to
 establishing the overall criminal scheme, so joinder was proper even though each defendant was not charged in each
 count.).
 112
     However, this decision on the propriety of joinder does not in any way constitute a ruling on the admissibility of
 evidence in the trials on any of the Counts charged in the Indictment.
 113
     Id. (citing United States v. Nettles, 570 F.2d 547, 551 (5th Cir. 1978) (“It is clear that defendants charged with
 two separate albeit similar conspiracies having one common participant are not, without more, properly joined.”)).

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 explained below in addressing the Potashniks’ Joint Motion to Sever. The Court also declines to

 sever Hodge or the Potashniks for their own separate trials under Rule 14 because it does not

 find any evidence of specific prejudice arising from a joint trial on Counts 1-9, as is also

 explained below in addressing the Potashniks’ Joint Motion to Sever.

          Counts 21-25 will also be severed from the remaining Counts, as they allege false and

 fraudulent statements by Hodge on her income tax returns, in part due to her omission of the

 income received from the bribery alleged in Counts 1-9. These Counts will be tried separately

 from Counts 1-9, for reasons explained below.114

          The same severance question regarding Counts 1-9 and 21-25 is also raised by Defendant

 Lewis’s Motion to Sever Counts 15, 17, 20 and 31 from Counts 1-9, 21-25, and 27-30 [Docket

 Entry #335], Defendant Slovacek’s Motions to Sever Counts 1-9 and 21-25 from the remaining

 Counts (joined by Defendant Rashad)115 [Docket Entries #370, #374, #378], and Defendants

 Brian and Cheryl Potashniks’ Joint Motion to Sever [Docket Entry #517]. The Court hereby

 GRANTS these Motions insofar as they request severance of Counts 1-9 and 21-25 from the

 remaining Counts in the Indictment.


       2. The Potashniks’ Joint Motion for Severance of Counts 1-9 and 10-14 from the
          remaining Counts for a separate trial

          The Potashniks filed a Joint Motion for Severance, asking the Court for a separate trial of

 Counts 1-9 and 10-14 pursuant to Rule 8 and alternatively under Rule 14. The Potashniks argue

 that:


 114
     In short, because the Government has admitted that “less than half” of the income allegedly unreported by Hodge
 originated from the Potashniks, at least in some measure the tax Counts are not part of the same series of acts or
 transactions as required by Rule 8(b), and therefore must also be severed.
 115
     While the Court now severs Counts 1-9 and 21-25 as requested by Slovacek’s Motions, the Court notes that
 Slovacek and Rashad have already been severed for separate trials under Rule 14, and therefore his severance
 Motions are moot.

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          To allow this case to be tried in its current form will not only serve to create juror
          confusion over which of these varying charges, unrelated facts and unconnected
          events apply to which defendants, but it will also prove to be an evidentiary
          nightmare to manage from a judicial standpoint… This type of unwieldy trial will
          also work to unfairly prejudice the Potashniks who have nothing to do with (and
          is [sic] not even mentioned in) nearly half of the charges alleged in the
          Indictment. Misjoinder of multiple, separate and unrelated conspiracies into a
          single indictment is not only prohibited under Federal Rules of Criminal
          Procedure 8 and 14, but it is also impracticable to try together in one case and
          would serve to unfairly prejudice the Potashniks.

          First, while the Potashniks’ Motion requests a “separate trial for Counts 1-9 and Counts

 10-14,” they make no actual arguments for severing their trial from Hodge on Counts 1-9. Under

 Rule 8(b), the Potashniks’ and Hodge are properly joined, since the Indictment alleges

 participation in the same or a series of act(s) and/or transaction(s). The Potashniks allegedly paid

 portions of Hodge’s rent and utilities, and for the installation of carpet at her home. In direct

 correlation to these actions, Hodge allegedly provided assistance in her official capacity as an

 elected official. These actions are clearly part of the same series of acts and/or transactions, and

 joinder is proper under Rule 8(b).116 Similarly, the Potashniks fail to allege that specific

 prejudice would result from a joint trial with Hodge on Counts 1-9, and therefore the Court will

 not grant severance of the Potashniks under Rule 14.117

          As for joinder of the remaining Counts, while the Court acknowledges the evidentiary

 and logistical challenges in a trial of multiple defendants on multiple counts, the Court declines

 to grant severance on the grounds of convenience. Counts 10-14 are part of the same series of


 116
     The propriety of joinder may also be evidenced by the fact that the Potashniks request a separate trial on Counts
 1-9, but in fact make no legal arguments that would justify such a result in this case.
 117
     The Potashniks argue that the spillover effect from a single trial of 14 defendants creates a serious risk of
 prejudice, and that the jury would be confused by a joint trial of Counts 10, 15 and 18-20 given the quantity of
 evidence against the Potashniks’ versus their co-defendants on “complex” allegations, but they do not allege that the
 same risks exist in a joint trial with Hodge on Counts 1-9. The Potashniks also fail to identify any extra-judicial
 statements that might violate the Confrontation Clause, that the Government intends to use in a joint trial with
 Hodge, which would justify severance from Hodge, and they do not allege any defenses that would be antagonistic
 with Hodge’s defenses. As a result, the Court does not find that a separate trial of Counts 1-9 for the Potashniks is
 warranted under Rule 14.

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 acts or transactions as the remaining Counts, and joinder of them under Rule 8(b) was therefore

 proper. The Court also holds that the Potashniks have not shown specific prejudice under Rule

 14. As a result, the Court DENIES the Potashniks’ Motion to Sever insofar as it requests

 severance of Counts 1-9 for a trial separate from Hodge, and severance of Counts 10-14 from the

 remaining Counts and Defendants for separate trial.

         A. Propriety of Joinder under Rule 8

         On January 18, 2008, this Court held, in addressing Defendants Lewis and Dean’s

 Motions to Sever, that Counts 10 and 15 were properly joined under Rule 8. However, the Court

 specifically acknowledged the right of the remaining Defendants to object to misjoinder of the

 same Counts under Rule 8. The Court now returns to this issue, and holds that Counts 10-14 are

 properly joined with Counts 15-20 under Rule 8(b). The Court will analyze the propriety of

 joinder of the Tax Counts, Counts 21-30, later in this Opinion.

         1. Joinder of Counts 10-14 with Counts 15-17

         This Court must once more look to the substance of these Counts to determine the

 propriety of joinder of the Defendants.118 The Fifth Circuit has held that Rule 8’s requirement of

 the same or series of act(s) or transaction(s) is ordinarily “satisfied by allegation of an

 overarching conspiracy that encompasses the substantive offenses charged.”119 However, the

 government is not required to allege a conspiracy in order to join defendants or counts—“what is

 required is a series of acts unified by some ‘substantial identity of facts or participants.’”120

         Count 10 names Defendants Hill, Lee, Farrington, Robertson, Spencer, Slovacek, and the


 118
     See FED. R. CRIM. P. 8(b).
 119
     Krout, 66 F.3d at 1429; Ellender, 947 F.2d at 754 (“Joinder of defendants is particularly appropriate when
 conspiracy is one of the charges.”); see also Hundley, 2003 WL 21537774, at *2 (“the indictment can also be read as
 alleging that these defendants were engaged in a broad scheme to enrich themselves and their associates by any
 fraudulent means required”).
 120
     Dennis, 645 F.2d at 520 (emphasis added).

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 Potashniks and asserts that from October 1, 2003, through June 20, 2005, these Defendants

 conspired to unjustly enrich Hill and Lee in exchange for the performance of Hill and Lee’s

 official acts to further the Potashniks’ business interests. Counts 11-14 are the substantive

 bribery counts, alleging that Hill and Lee performed acts in their official capacities in exchange

 for concealed illegal payments. These Counts also allege that Hill and Lee demanded that the

 Potashniks award construction contracts under sham deed restrictions to the named Defendants

 who were associates of Hill and Lee, so that they too would profit from the scheme.

        Count 15 alleges a conspiracy to commit extortion from August 2004, through June 20,

 2005. Counts 16-17 allege actual extortion by public officials (and aiding and abetting by their

 associates), on February 22, 2005, and May 11, 2005, respectively. These Extortion Counts

 involve Hill and Lee conditioning their official support of another developer's tax credit projects

 upon compliance with their extortionate demands for cash payments and deed restrictions that

 provided financial benefits to their associates. These Counts name Defendants Hill, Lee,

 Reagan, McGill, Rashad, Robertson, Spencer, Slovacek, Dean, Lewis, and Farrington.

        The Government again argues that the “test” for measuring proper joinder is “the

 realization that every defendant, regardless of how charged, engaged in the following scheme

 with the criminal intent to achieve its objective:

        To give, withhold, or receive official governmental acts and influence with
        respect to affordable housing tax credit projects in Dallas in exchange for money
        and property to [sic] which the participants in the conspiracy were not entitled to
        receive, and to conceal the illegal nature of their conduct.”

        The Potashniks argue that the Indictment actually charges multiple distinct conspiracies,

 and that it is improper to join them with the other Defendants in “schemes having nothing to do

 with the Potashniks.” To determine whether an indictment charges separate conspiracies or a

 single conspiracy, a court must decide whether the alleged facts “reveal a substantial identity of

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 facts or participants… [a] single conspiracy can be found when the indictment adequately shows

 a singular conspiratorial objective.”121 Here, the conspiratorial objective was for Hill and Lee

 (and their associates) to illegally profit from the use of their official positions to advance the

 interests of affordable housing developers, or conversely to hinder the interests of developers that

 did not comply with their demands. Although the Indictment describes different events, each

 involving some but not all of the Defendants, it in fact alleges one overarching conspiracy, one

 global objective, to abuse the political process for approval of affordable housing projects in the

 City, for the personal gain of officeholders and their alleged co-conspirators, and for the benefit

 of businesspersons who elected to participate in the unlawful scheme.122

          The Fifth Circuit looks to the following factors in considering whether one or multiple

 conspiracies exist:

          (1) the time frame; (2) the locations of the events charged as part of the
          conspiracy; (3) the persons acting as co-conspirators; (4) the statutory offenses
          charged in the indictment; and (5) the overt acts or other description of the offense
          charged that indicate the nature and scope of the activity that the government
          seeks to punish in the case.123

          Under these factors, the Court concludes, as it did in ruling on the Dean/Lewis severance

 Motions, that the Indictment charges one overarching conspiracy.124 The acts underlying the

 Bribery Counts and the Extortion Counts occur during identical time periods, beginning in

 August of 2004, and ending on June 20, 2005. All events took place in Dallas, Texas, with

 respect to housing projects located in Hill’s district. The participants charged in these Counts

 121
     Lindell, 881 F.2d at 1318.
 122
     See cases cited supra note 36, for examples of “broad” conspiracies found by the Fifth Circuit to support joinder
 under Rule 8(b).
 123
     Ellender, 947 F.2d at 759.
 124
     Under these same factors, it is also clear that Counts 1-9 are not properly joined under Rule 8(b). The time frame
 for the acts underlying Counts 1-9 begins two years before the other conspiracy Counts. The only Defendants
 charged in Counts 1-9 are Hodge and the Potashniks, as compared to the substantially overlapping membership in
 Counts 10 and 15. However, the most significant distinction is found in the overt acts and factual descriptions of the
 offenses. The facts alleged in Counts 1-9 are distinct and unrelated to those alleged in Counts 10 and 15. See supra
 notes 107-113 and accompanying text.

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 overlap substantially:

         Count Ten: Hill, Lee, Farrington, Potashnik, Robertson, Spencer, Slovacek

         Count Fifteen: Hill, Lee, Reagan, McGill, Rashad, Robertson, Spencer, Slovacek, Dean,
         Lewis

 Count 10 alleges a conspiracy to commit bribery and Count 15 alleges a conspiracy to commit

 extortion. Count 15 is different from Count 10 only in that the extorted Developer referenced in

 Count 15 stands in the same position as do the Potashniks in Count 10, except that rather than

 agreeing to pay the bribes in exchange for official support as the Potashniks allegedly did, the

 Developer refused to participate in the illegal conduct.

         Finally, the Fifth Circuit directs the Court to look at the “overt acts” or other descriptions

 of the offense that reflect the nature and scope of the activity charged. The nature of Counts 10

 and 15 is best described in the “manner and means” section of the Indictment. Count 10 alleges,

 in part, that:

         •      Hill and Lee would and did seek things of value for themselves in return for
         providing official assistance to Brian L. Potashnik and Cheryl L. Potashnik. The things
         of value included cash payments in the form of birthday party contributions, cash
         payments in the form of gifts to CHDOs [Community Housing Development
         Organizations], cash payments in the form of consulting fees, and the award of
         construction contracts to Hill and Lee’s associates, Robertson, Spencer and Slovacek.

         •       Brian L. Potashnik and Cheryl L. Potashnik would and did offer things of value to
         Hill and Lee to influence and reward them for their performance of official acts that
         advanced Brian L. Potashnik and Cheryl L. Potashnik’s business interests. The things of
         value included cash payments in the form of birthday party contributions, cash payments
         in the form of gifts to CHDOs [Community Housing Development Organizations], cash
         payments in the form of consulting fees, and the award of construction contracts to Hill
         and Lee’s associates, Robertson, Spencer and Slovacek.

         •       Hill and Lee would and did conceal their expected or actual receipt of things of
         value by directing their associates, including Farrington, Spencer and Slovacek, to form
         nominee companies that entered into sham agreements to receive things of value sought
         by Hill and Lee while neither referencing nor disclosing Hill’s and Lee’s involvement in
         obtaining the agreements. The nominee companies included Farrington & Associates and
         The [LKG].

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        •        When offering things of value, Brian L. Potashnik and Cheryl L. Potashnik would
        and did require invoices from Farrington & Associates to make it appear that the
        payments to Farrington & Associates were for professional and legitimate services when,
        in fact, the sham invoices were for giving things of value to Hill and Lee in return for
        official acts to be performed by Hill and Lee.

 Count 15 alleges, in part, that:

        •   As a member of the City Council and certain of its committees, Hill would and did
            condition his official support of Developer, who sought City Council approval of
            resolutions for tax credit projects located in Districts 5 and 8, on Developer’s
            compliance with the extortionate demands made by Lee and by Hill and Lee’s
            associates.

            • As a plan commissioner of the CPC, Lee would and did condition his official
            support of Developer, who sought City Council approval of resolutions for tax credit
            projects and CPC approval of zoning change applications, located in Districts 5 and 8,
            on Developer’s compliance with the extortionate demands made by Lee and by Hill
            and Lee’s associates.

            • Hill[] and Lee’s associates, including Reagan, McGill, Rashad, Robertson,
            Spencer, Slovacek, Dean and Lewis, would and did make extortionate demands for
            things of value from Developer, including cash payments, construction contracts, and
            equity participation in affordable housing projects, for their own benefit and the
            benefit of Hill and Lee.

            • Hill and Lee would and did direct their associates, including Rashad, Robertson
            and Spencer, to form nominee companies and enter into sham business agreements
            for the purpose of concealing their expected or actual receipt of things of value from
            Developer. The nominee companies included RA-MILL and The [LKG]…

            • Hill, Lee, Reagan and McGill would and did require Developer to enter into sham
            consulting agreements with the BSEAT CDC for the purpose of concealing their
            expected or actual receipt of things of value from Developer. While seeking things of
            value, Hill and Lee would and did require that agreements with the nominee
            companies, RA-MILL and The [LKG]…, be reduced to writing to make them appear
            to be lawful agreements for professional and legitimate services when, in fact, the
            sham agreements were for giving things of value to Hill and Lee and their designees
            in return for official acts to be performed by Hill and Lee.

            • Hill and Lee would and did postpone official votes on Developer’s applications
            regarding affordable housing projects until Developer entered into agreements and
            made payments thereunder.

 The only differences between the facts alleged in Count 10 and those alleged in Count 15 are the

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 alleged acquiescence of the Potashniks in the scheme as opposed to the rejection by Developer

 of the scheme, and a change in some of the participants who helped carry out the overarching

 objective. It is not necessary for the Indictment to charge each Defendant with participation in

 each phase of the conspiracy,125 but “overlapping membership in various activities may reflect a

 single continuing plan or scheme.”126 Here, the change in some participants does not undermine

 the Court’s determination that a single overarching conspiracy existed, and in fact the

 overlapping membership of Hill, Lee, Robertson, Spencer and Slovacek confirms one ongoing

 affordable housing scheme.

         The Potashniks argue that “[t]he extortion/fraud scheme alleged in Counts 15 and 18 is

 vastly different [from] the bribery scheme alleged against the Potashniks in Count 10,” and that

 “there is no allegation that the Potashniks had any knowledge of McGill, Rashad, Dean or Lewis

 or the roles these individuals played in the alleged conspiracies that are unrelated to [them].”

 However, it is not necessary that an indictment charge that a defendant knew all the participants

 in a conspiracy, or details of the conspiracy, so long as it alleges “knowledge of the conspiracy’s

 essential nature.”127 The subject Indictment alleges sufficient participation by the Potashniks to

 support a finding that they had “knowledge of the conspiracy’s essential nature,” i.e., the

 payment of bribes to promote their business interests.

         Also, “where it is shown that a single ‘key man’ was involved in and directed illegal

 activities, while various combinations of other defendants exerted individual efforts toward a

 common goal, a finding of the existence of a single conspiracy is warranted.”128 In this case, Hill

 and Lee qualify as the “key men” who allegedly directed their associates to accept and/or extort


 125
     See Lindell, 881 F.2d at 1318; Elam, 678 F.2d at 1246-47.
 126
     DeLeon, 641 F.2d at 334.
 127
     Lindell, 881 F.2d at 1318; Elam, 678 F.2d at 1246.
 128
     Lindell, 881 F.2d at 1318; Elam, 678 F.2d at 1247.

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 bribes from affordable housing developers in exchange for assistance in their official capacity.

 Therefore, this Court finds that, regardless of some changes in membership, and regardless of

 actual knowledge by all participants of the extent of the conspiracy, the Indictment properly

 alleges one overarching conspiracy that legitimizes joinder of these Defendants under Rule

 8(b).129

            However, even if this Court were to find two distinct conspiracies, their joinder would

 still be proper under Rule 8(b). Where multiple conspiracies are charged, a court’s inquiry into

 the propriety of joinder must go one step further—the court must “focus on whether the two

 separate conspiracies alleged…are part of the same series of acts or transactions.”130 If this

 Court finds that “the facts underlying each offense are so closely connected that proof of such

 facts is necessary to establish each offense,” then joinder would be proper under Rule 8.131

 Looking to the facts underlying Counts 10 and 15, proof of each set of facts is in fact necessary

 to establish each offense. As this Court observed in its Memorandum Opinion of January 18,

 2008:

            Each venture’s success was intimately bound up with the other’s … By allegedly
            playing each developer against the other, and exploiting Developer and SWH’s132
            competition for approval of affordable housing tax credits in District 5, Hill and
            Lee would be able to maximize payments from each… Hence, the simultaneous
            solicitation of bribes from SWH and Developer, while the DCC [Dallas City
            Council] and DCPC were considering both developers’ projects, enabled Hill
            and Lee to auction their votes to the highest bidder, and thereby realize the
            largest possible payments from both. Thus, joint implementation of the schemes
            was necessary to achieve the overarching conspiracy’s alleged larger objective—
            maximizing bribe receipts.133

 The Court still finds this reasoning to ring true. At trial, proof that the Potashniks provided

 129
     See Elam, 678 F.2d at 1247.
 130
     Welch, 656 F.2d at 1049.
 131
     Harrelson, 754 F.2d at 1176-77 (citations omitted) (emphasis added); Welch, 656 F.2d at 1049.
 132
     Southwest Housing Development Company, Inc. was the for-profit corporation out of which the Potashniks’
 operated their affordable housing projects.
 133
     United States v. Dean, No. 3:07-CR-289-M, 2008 WL 168541, at *4 (N.D. Tex. Jan. 18, 2008) (emphasis added).

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 certain payments, which were funneled through sham consulting agreements and fabricated

 invoices, and thereby secured official support of their housing development projects from Hill

 and Lee, is integral to demonstrating the flip side of the coin—that Developer’s refusal to enter

 into such “consulting agreements” was directly related to the postponement and denial of

 Developer’s housing development applications in the City Council and the CPC. Given the

 nature of the allegations in Counts 10 and 15, it is clear that proof of one is integral, even

 necessary, to establish proof of the other, and therefore even if two distinct conspiracies in fact

 exist, joinder of these Defendants is still proper under Rule 8(b).134

         2. Joinder of Counts 18-20 with Counts 10-17

         The Potashniks’ severance argument also encompasses the second reserved issue:

 whether a joint trial of Count 18 with Counts 10 and 15 is proper. The Potashniks claim that the

 schemes charged in Counts 15 and 18-20 are “vastly different” from the bribery scheme charged

 against the Potashniks. They further argue that the bribery scheme alleged in Counts 10-14

 “bears no relation” to the offenses charged in Counts 19-20, and that as a result they are

 improperly joined as Defendants under Rule 8(b). Finding that these Counts are also part of the

 same series of acts or transactions, this Court holds that joinder of Counts 18-20 with Counts 10-

 17 is proper under Rule 8(b).

         Count 18 names Defendants Hill, Lee, Farrington, Spencer, and Slovacek. The facts

 underlying this Count allege that Lee, Spencer, and Slovacek created for-profit entities, namely

 The LKC and Kiest Blvd., to purchase and develop real estate projects, and that Hill and Lee

 then used their official positions and influence to obtain undisclosed personal benefits through

 those entities.

 134
    See also Elam, 678 F.2d at 1246 (where activities from one aspect of the alleged scheme were “advantageous” to
 the success of another aspect of the scheme, and joinder was therefore proper under Rule 8).

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        The Court finds that Count 18 is also part of the same overarching affordable housing

 scheme involving projects coming before the Dallas City Council, and constitutes another link in

 the same series of acts and transactions as Counts 10 and 15. Count 18 is interconnected in time,

 place, manner, and membership to Counts 10 and 15. The time periods for these three Counts

 substantially overlap—the facts underlying Counts 10 and 15 are alleged to have occurred

 between August 2004 and June 20, 2005, and those behind Count 18 are alleged to have occurred

 between November 5, 2004, and June 20, 2005. The objects of the conspiracy are virtually

 identical—to unjustly enrich Hill, Lee, and their associates by using Hill and Lee’s official

 positions and influence, and to conceal Hill and Lee’s personal financial interests in the real

 estate projects they supported in their official capacities, using the same front companies to

 conceal the scheme.

        The facts underlying Count 18 are also integrally related to the facts underlying Counts

 10 and 15. In Count 18, the Government alleges that Hill, Lee, Spencer, Slovacek, and

 Farrington were all involved in securing real estate development projects in which Hill and Lee

 had a personal financial stake, using front companies and sham invoices. Counts 10 and 15

 detail similar attempts by Hill, Lee, and their associates to force the Potashniks and Developer to

 utilize specific subcontractors, and to pay sham invoices, in return for Hill and Lee’s official

 support of affordable housing projects. Even though Count 18 is brought under different

 statutory authority, the underlying facts are similar to those supporting Counts 10 and 15, and

 they share the same global objective of generating a profit for the conspirators by using the

 official influence Hill and Lee had over the affordable housing projects in the City.

        In United States v. Elam, the Fifth Circuit highlighted the importance, in analyzing an

 alleged conspiracy, of overlapping membership, knowledge of the existence of members in a


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 related enterprise, and the existence of a “key man” involved in and directing the illegal

 activities.135 Each of these factors is present in Counts 10, 15 and 18. As in Counts 10 and 15,

 Hill and Lee qualify as “key men” who directed the illegal activities alleged in Count 18. The

 membership in these Counts is also very similar:

          Count 10: Hill, Lee, Farrington, Potashnik, Robertson, Spencer, Slovacek

          Count 15: Hill, Lee, Reagan, McGill, Rashad, Robertson, Spencer, Slovacek, Dean,

                   Lewis

          Count 18: Hill, Lee, Farrington, Spencer, Slovacek.

 Hill, Lee, Spencer, and Slovacek are all named in Counts 10 and 15. Farrington is the only

 Defendant not named in both Counts 18 and 15, but she is named in Count 10. The substantially

 overlapping membership in the three conspiracy Counts further supports the Court’s finding of

 one overarching conspiracy.

          If the “totality of the evidence” sufficiently demonstrates a “concert of action unified by a

 common purpose,” then it is proper to characterize the different conspiracy Counts as a single

 conspiracy.136 The Fifth Circuit explained in Elam:

          Where the activities of one aspect of the scheme are necessary or advantageous to
          the success of another aspect of the scheme or to the overall success of the
          venture, where there are several parts inherent in a larger common plan, or where
          the character of the property involved or the nature of the activity is such that
          knowledge on the part of one member concerning the existence and function of
          other members of the same scheme is necessarily implied due to the overlapping
          nature of the various roles of the participants, the existence of a single conspiracy
          will be inferred.137

 Focusing on whether “the activities of one aspect of the scheme [were] necessary or

 advantageous to the success of another aspect of the scheme or to the overall success of the

 135
     Id. at 1239.
 136
     See id. at 1246.
 137
     Id. In this case, the Court can infer with little difficulty that members common to Counts Fifteen and Eighteen
 were aware of the overarching scheme.

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 venture,”138 the Court again finds evidence of a single overarching conspiracy. Theft of public

 services involves the abuse of public office by Hill and Lee, which deprives the citizens of

 Dallas of their right to the honest services of Hill and Lee. Logically, the use of deceit, fraud,

 concealment, bias, conflict of interest, self-enrichment and self-dealing, by means of materially

 false and fraudulent pretenses, representations, promises and material omissions (as alleged in

 Count 18 of the Indictment), was necessary and integral to the overall success of the alleged

 affordable housing venture. The personal involvement of Hill and Lee in these real estate

 companies further strengthened their stranglehold on the Dallas affordable housing market, as

 evidenced by Lee’s alleged coercion of a property owner to sell his interests in privately owned

 land for a below market price. This involvement was undoubtedly “advantageous” to the success

 of the overarching scheme, as Hill and Lee allegedly utilized their influence to profit from the

 Dallas affordable housing market.

             Counts 10, 15 and 18 are “several parts inherent in a larger common plan” which the

 Fifth Circuit expressly approved of in the context of joinder.139 The overlapping memberships

 and common modes of operation (i.e., the use of sham consulting agreements to conceal or

 coerce the receipt of bribes, and the use of front companies to profit from affordable housing tax

 credits) bolster that conclusion. The interrelatedness of Count 18 with Counts 10 and 15 is

 sufficient to justify joinder of all Defendants named in these Counts under Rule 8(b).

             As for Counts 19-20, this Court has not previously considered the issue of whether the

 money laundering Counts are properly joined with the remaining counts. Counts 19 and 20

 allege a conspiracy to commit money laundering from August 2004, to June 20, 2005. Count 19

 names Defendants Hill, Lee, Farrington, Robertson, Spencer and Slovacek, and Count 20 names

 138
       Id.
 139
       See id.

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 Defendants Hill, Reagan, Dean and Lewis. Count 19 incorporates the facts underlying the

 Bribery Counts, and alleges concealment of funds derived from the unlawful bribery alleged in

 Counts 11-14. Count 20 incorporates the facts underlying the Extortion Counts, and alleges a

 conspiracy to conceal funds derived from the unlawful extortion alleged in Counts 16-17.

          The Potashniks argue that Counts 19-20 are improperly joined because the Potashniks are

 not specifically charged in these Counts. The Fifth Circuit specifically addressed the propriety

 of joining money laundering counts with other substantive offenses in United States v. Metz, in

 the context of a large narcotics conspiracy. 140 There, the Court held that “the indictment

 adequately shows a singular conspiratorial objective: a large-scale narcotics transaction.

 Adequately alleged as facets of that same cocaine distribution scheme were the plan to launder

 its illgotten proceeds, the preliminary sale on September 17, and the preparations for the

 December 14 transaction.”141 The Fifth Circuit reiterated, “[t]hat the indictment did not charge

 appellants with active participation in each phase of the conspiracy does not effect [sic]

 misjoinder.”142

          This Court finds that Counts 19-20 are part of the same series of acts or transactions as

 Counts 10-18. The Indictment properly asserts that the funds allegedly laundered originated

 from the illegal activity charged in the prior Counts. As a result, joinder is proper as to these

 Counts under Rule 8(b).

          B. Discretionary Severance under Rule 14

          The Potashniks argue that “a Rule 14 [severance] is required because a joint trial presents

 a serious risk of prejudicial spillover if the Potashniks were made to stand trial with 13 [sic]

 other defendants (7 of which [they are] … not alleged to have anything to do with and 15 counts
 140
     608 F2d 147, 152 (5th Cir. 1980).
 141
     Id. at 153 (emphasis added).
 142
     Id.

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 alleging 4 criminal conspiracies that [they are] … not involved in).” The Potashniks also argue

 that “[n]otwithstanding the Court’s limiting instructions, there is a real risk that the jury may

 nevertheless find the Potashniks guilty by association with those defendants rather than

 objectively evaluating the proof against [them].” The Potashniks finally argue that in addition to

 the “prejudicial spillover risk inherent,” a joint trial would also “compromise the Potashniks’

 Sixth Amendment right to cross-examine witnesses testifying against them, particularly where as

 here, there is a risk of antagonistic defenses between the defendants.”

         The Court must evaluate these claims to determine if they amount to evidence that a

 specific legal right of the Potashniks would be compromised by a joint trial, or if the jury would

 in fact be prevented from making a reliable determination of their guilt or innocence.143 The

 Fifth Circuit, in United States v. Welch, provided the test for severance under Rule 14:

         Whether under all the circumstances of the particular case, as a practical matter, it
         is within the capacity of the jurors to follow the court's admonitory instructions
         and accordingly to collate and appraise the independent evidence against each
         defendant solely upon that defendant's own acts, statements and conduct...If so,
         though the task be difficult, severance should not be granted.144

         1. Spillover Effect

         The Court finds the Potashniks’ argument that severance is necessary to prevent prejudice

 from the spillover effect of the evidence at trial insufficient to justify severance. The “mere

 presence of a spillover effect does not ordinarily warrant severance.”145 The burden is on the

 defendant to “show that ‘a miscarriage of justice looms.’”146 It is true that in complex multi-

 defendant cases the risk of prejudice is heightened. However, contrary to the Potashniks’

 assertion that severance is required, limiting instructions to the jury will usually alleviate the risk


 143
     See Zafiro, 506 U.S. at 539 (emphasis added).
 144
     Welch, 656 F.2d at 1053-54 (emphasis added).
 145
     Id.
 146
     Dillard, 2007 WL 3326833, at *3 (citing Ramirez, 145 F.3d at 355) (emphasis added).

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 of prejudice.147 Importantly, the Court cannot presume that prejudice will result, without the

 Potashniks identifying specific prejudice that will result from joinder.

          Rather than claiming that specific evidence of past crimes or instances of bad acts will be

 introduced against their co-defendants and be impermissibly attributed to them at trial, the

 Potashniks argue that the joinder of Counts in which the Potashniks are not named will generally

 result in the jury improperly associating their guilt with that of the Defendants who are named in

 those other Counts. They argue that, “[t]o a juror, however, the allegations may seem related

 enough (as they all involve Hill and Lee and relate to affordable housing deals) to mean that if

 they deem the public officials guilty of an offense (e.g., extortion), the Potashniks are also guilty

 in separate charges because they had dealings with these same officials.”

          In fact, “it is well settled that defendants are not entitled to severance merely because

 they may have a better chance of acquittal in separate trials.”148 Absent specific evidence

 demonstrating a likelihood of improper imputation of guilt, the Court will not order severance

 under Rule 14. The Court will assume that the jurors in this case will follow its instructions and

 satisfy their obligations to the Court.

          The Potashniks also argue that “there is a significant risk of juror confusion and juror

 prejudice resulting from the quantity of potential evidence against the Potashniks’ co-

 defendants.” However, the Fifth Circuit has repeatedly held that a “quantitative disparity in the

 amount of evidence offered against one defendant in relation to other co-defendants is also

 normally insufficient to warrant severance under Rule 14.”149 For example, the appellant in

 United States v. Pofahl argued that his limited role in the alleged conspiracy supported


 147
      Zafiro, 506 U.S. at 539.
 148
      Id. at 540.
 149
     See, e.g., Krenning, 93 F.3d at 1267; Mitchell, 31 F.3d at 276; Pofahl, 990 F.2d at 1482; Harrelson, 754 F.2d at
 1175.

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 severance, claiming that his drug activities were limited to 210,000 tablets of ecstasy out of

 approximately 5.6 million total tablets involved in the conspiracy, and that his conduct was

 referenced on only 53 out of the 900 pages of transcript.150 In rejecting his claim, the Fifth

 Circuit held that “a quantitative disparity” in the evidence was clearly insufficient in itself to

 justify severance, and found the trial court’s limiting instructions were sufficient.151

          The Court declines to find that this case presents an extreme risk of spillover which

 warrants severance under Rule 14. The Potashniks have not demonstrated the potential for

 spillover such that a jury would be incapable of sorting through the evidence when provided with

 proper limiting instructions.152 Moreover, the Court “must balance the public’s interest in

 economy of judicial administration with the possible prejudice to the defendant.” 153 Here, the

 expense of severing the Potashniks would be costly, in terms of judicial resources spent on two

 separate trials arising under one overarching conspiracy, and in terms of Government resources

 spent on presenting substantially similar evidence in two trials. Therefore, the Court finds that

 the public’s interest in judicial economy outweighs any potential prejudice from the possible

 spillover effect in this case, and that limiting instructions will be sufficient to cure any such

 prejudice.


 150
     Pofahl, 990 F.2d at 1483 n.34-35.
 151
     Id. at 1483.
 152
     The Potashniks argue that “the type of evidence the government will use at trial against the defendants in Counts
 15 and 18-20 will undoubtedly be very similar to the type of evidence that the government will use against
 defendants to prove the allegations in Count 10—e.g., Title III wire intercepted recordings and the fruits of
 government searches, seizures and subpoenas—a potentially large volume of documentary evidence showing
 various business agreements and contracts involving some of the same entities. This evidence may confuse the jury
 into viewing evidence relating to one count and unfairly attributing it to another defendant named in another count.”
 The Court notes that if it were to grant severance under Rule 14 on this ground, joint trials would be virtually
 impossible to maintain, as the Potashniks’ proffered concern would occur in almost any joint criminal trial with
 multiple counts. Such a holding would be in direct conflict with the United States Supreme Court’s mandate that
 there be “a preference in the federal system for joint trials of defendants who are indicted together.” Zafiro, 506
 U.S. at 537.
 153
     Harrelson, 754 F.2d at 1176; see also Matthews, 178 F.3d at 298 (“We must also balance the possibility of
 prejudice against the interest of judicial economy.”) (citing United States v. Posada-Rios, 158 F.3d 832, 863 (5th
 Cir.1998)).

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         2. Confrontation Clause

         The Potashniks argue that “there is a risk that several defendants may have antagonistic

 defenses and evidence may be introduced at trial where one defendant makes statements that

 inculpate another defendant,” and that in such cases, severance is required. Specifically, the

 Potashniks point to statements made in Title III call intercepts, by co-defendants, which

 “implicate other defendants in alleged wrongdoing or attempt to characterize the conduct of

 other defendants as being criminal.” The Potashniks contend that the use of such statements at

 trial “would pose a serious threat to the Potashniks’ right to confront witnesses against them.”

         In evaluating the Potashniks’ Confrontation Clause claim and their objection to the use of

 the Title III call intercepts, the Court must make a two-tiered inquiry. First, are the statements at

 issue testimonial; and if so, is the declarant available for cross-examination? Second, if the

 statements are non-testimonial, are they admissible under the Federal Rules of Evidence, i.e.,

 through the co-conspirator hearsay exception?154 This Court concludes that testimonial

 statements are made to persons serving in an official capacity. As the Fifth Circuit has held,

 “[s]tatements made between co-conspirators in furtherance of a conspiracy are not

 testimonial.”155 As a result, if the statements identified by the Potashniks qualify as statements

 made between co-conspirators, during the course of and in furtherance of the conspiracy, they

 will be unable to sustain a viable challenge to their admittance under the Confrontation Clause,

 because the statements are non-testimonial and the Confrontation Clause will not apply.

         The Potashniks initially point to two statements made and recorded in Title III call

 intercepts, between another Defendant and Developer, and between two other Defendants (one of

 whom has pled guilty), referencing Brian Potashnik. The Potashniks assert that the introduction
 154
     See Savoca, 335 F. Supp. 2d at 391 ("[i]n the wake of the Crawford decision, the crucial inquiry is whether a
 particular statement is testimonial or non-testimonial.").
 155
     King, 541 F.3d at 1145-46 (citing Crawford, 541 U.S. at 56) (emphasis added); see also Holmes, 406 F.3d at 348.

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 of these statements in a joint trial would compromise their specific trial right of confrontation, in

 direct violation of Bruton v. United States,156 because the non-pleading Defendant will likely

 claim his Fifth Amendment right to remain silent at trial. The Government counters that Bruton

 does not apply because the statement was made between co-defendants and not to the authorities,

 and that the other speakers, Developer and the pleading Defendant, are fully available for cross-

 examination and Crawford is therefore not implicated. The Government argues further that

 whether or not Counts 10-14 are severed under Rule 14, this evidence would still be admissible

 against the Potashniks, and the non-pleading Defendant could still claim his right to remain

 silent, therefore mooting the Confrontation Clause challenge.

          The Potashniks rely on United States v. Schmick,157 where the court held that the

 admission of an extrajudicial statement made by a non-testifying codefendant violated Bruton.158

 In Schmick, the statement by the co-defendant was an admission that he had gone to Houston to

 obtain explosives, but recruited another defendant to act in his place. That statement “directly

 implicated” both defendants. In rejecting admission of the statement, the Fifth Circuit partly

 relied on the fact that the district court had found that the statement was not made “in furtherance

 of the conspiracy,” and therefore did not fall under the well-recognized hearsay exception.159

          Decided fourteen years before the Supreme Court’s decision in Crawford, Schmick did

 not evaluate whether the extrajudicial statements were testimonial in nature. Here, the Court

 finds that the statements identified by the Potashniks, in their original Motion for Severance, and

 in their supplemental briefing, are not testimonial. The statements occur during Title III call

 intercepts, are not made to an official, and therefore are not protected by the Confrontation

 156
     Bruton, 391 U.S. at 126.
 157
     904 F.2d 936 (5th Cir. 1990). The Potashniks actually cited to “United States v. Schmidt,” however, the citation
 makes clear that they intend to cite to “United States v. Schmick.”
 158
     Id. at 943.
 159
     Id.

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 Clause. The Potashniks cannot maintain a Confrontation Clause challenge to joinder because the

 statements proffered that allegedly violate the Confrontation Clause do not, by definition, fall

 within its protection under Crawford v. Washington.160 As such, the admissibility of these extra-

 judicial statements is governed by the Federal Rules of Evidence at trial, including their

 admissibility under the co-conspirator hearsay exception.161

          The Court is not required to now determine the evidentiary issue associated with the

 admissibility of the proffered statements. The trial court must first “determine that there is

 substantial, independent evidence of a conspiracy” or may admit the statement, with it being

 connected up later.162 If the Court conducts a James hearing to determine the admissibility of

 Title III call intercepts, then the Potashniks may object to the admissibility of the statements at

 that time. The Potashniks may also reassert their Motion for Severance if the evidence is

 admitted but they find evidence of the alleged overarching conspiracy to be lacking at trial, at

 which time the Court will determine if the extra-judicial statements have in fact been “connected

 up.”

          3. Antagonistic Defenses

          The Potashniks allege that “there are other aspects of antagonistic defenses that are raised

 if all the defendants were tried jointly, which would also impact the Potashniks’ Sixth

 Amendment confrontation rights.” The Potashniks’ main contention is that “the tension between

 raising the issue of extortion versus complicity and the issue of whether the Potashniks had any

 idea of the relationships… between and among the other defendants” qualify as antagonistic

 defenses that warrant severance under Rule 14. A defendant may be able to show specific

 prejudice in a joint trial of multiple defendants by demonstrating that he plans to present a
 160
     See King, 541 F.3d at 1145.
 161
     Crawford, 541 U.S. at 68.
 162
     Peacock, 654 F.2d at 349 n.1.

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 defense that is completely antagonistic to that of his co-defendants. However, “[t]o justify

 severance ... the defenses must be more than merely antagonistic; they must be irreconcilable and

 mutually exclusive.”163

            Simply put, for the Potashniks to succeed on this claim they must demonstrate that it is

 impossible for the jury to accept their defense if they also accept the defenses of the other co-

 defendants. Looking to the facts of this case, the Potashniks claim that one possible defense is

 that they did not willfully bribe Hill and Lee as alleged in Counts 10-14, but rather were victims

 of extortion as was the Developer in Counts 15-17. Brian Potashnik’s counsel argued before the

 Court that:

            [A joint trial] would put us in a position to be proving the government’s case
            against our co-defendants. I would in effect become a deputy prosecutor by
            pointing that my co-defendants actually go about their business extorting
            affordable housing. That’s is [sic] what not supposed to happen. I’m not
            supposed to be put in that role where I basically either hoist my client on one
            petard or the other based on my trying to defend him against the flip flop
            indictment. There could not be a more antagonistic defense than my taking the
            position that we’re part of the scheme, we’re victims of the scheme.

 However, the Court’s view is that the relevant “antagonism” is not between the defense theory

 and the government theory of the case. The “antagonism” must exist between the defenses

 presented by the co-defendants, such that the defenses presented to the jury are “irreconcilable

 and mutually exclusive,” and the jury is forced to choose between the competing defenses rather

 than make an independent determination of guilt. The Potashniks’ defense that they were a

 victim of the scheme rather than a part of it is not irreconcilable with possible defenses raised by

 co-defendants; for example, that the invoices were legitimate for services performed, or that Hill

 and Lee never conditioned their support of affordable housing projects on the receipt of such

 funds, but acted on the merits of the applications. The jury will be free to determine if the

 163
       Kaufman, 858 F.2d at 1004 (citing Toro, 840 F2d at 1238).

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 Potashniks were willing participants in the bribery scheme, or were extorted into purchasing

 official support for their housing projects.

          An argument similar to the Potashniks’ was rejected by the Fifth Circuit in United States

 v. Kaufman.164 In that case, the Fifth Circuit explained that “there was nothing inherently

 antagonistic between one defendant’s claim of entrapment and another’s simple denial of

 guilt.”165 The admission by two co-defendants of being part of a conspiracy did not preclude the

 jury from believing the appellants’ defense of non-involvement in the same conspiracy. The

 same logic applies in this case—that the Government is charging willful participation in the

 scheme does not preclude the Potashniks from claiming that their participation was actually

 involuntary. In fact, the existence of the Extortion Counts may actually aid the Potashniks in

 their defense, as the plausibility of extortion may be more easily believed by the jury if the

 Government produces evidence of extortion of the Developer alongside evidence of the

 Potashniks’ participation in the scheme.

          Even assuming that the Potashniks’ defenses were actually antagonistic with their co-

 defendants, the United States Supreme Court has explained that “[m]utually antagonistic

 defenses are not prejudicial per se.”166 While some courts of appeals previously held that

 “mutually antagonistic” or “irreconcilable” defenses may be so prejudicial in some

 circumstances as to require severance under Rule 14, the Rule does not actually require

 severance even if prejudice is shown; “rather, it leaves the tailoring of the relief to be granted, if

 any, to the district court's sound discretion,” and “less drastic measures, such as limiting



 164
     858 F.2d 994, 1003-04 (5th Cir. 1988). There, two co-defendants used an entrapment defense, essentially
 admitting they were part of the drug conspiracy, but were entrapped into involvement. The appellants claimed that
 the use of this defense prejudiced their claims of innocence, i.e., their lack of involvement in the drug conspiracy.
 165
     Id. at 1004 (citing Toro, 840 F.2d at 1238).
 166
     Zafiro, 506 U.S. at 538.

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 instructions, often will suffice to cure any risk of prejudice.”167

         This principle was also applied by the Fifth Circuit in United States v. Matthews.168 In

 Matthews, each defendant’s defense strategy was directly implicating the other defendant at trial,

 by claiming that the other defendant was the one that actually shot the victim. The Fifth Circuit

 held that even “assuming without deciding that the Defendants' defenses were mutually

 antagonistic, the court's limiting instructions were sufficient to cure any prejudice.”169 As a

 result, the Potashniks’ request for severance due to antagonistic defenses fails for two reasons:

 (1) the defenses proffered are not truly antagonistic; and (2) even if the defenses are antagonistic,

 the potential prejudice can be cured with proper limiting instructions at trial.

         4. Limiting Instructions

         The Potashniks claim that “[t]he use of limiting instructions will not suffice to eliminate

 the prejudice in this case because the [u]nderlying events alleged in Counts 15 and 18-20 are so

 numerous that there is a significant danger that the sheer magnitude of the evidence involving the

 other co-defendants will cause the jury to conclude that the Potashniks are guilty as well...” The

 test in the Fifth Circuit is “[w]hether under all the circumstances of the particular case, as a

 practical matter, it is within the capacity of the jurors to follow the court's admonitory

 instructions and accordingly appraise the independent evidence against each defendant solely

 upon that defendant’s own acts, statements and conduct.”170

         The Court does not find that the evidence likely presented at trial will be so confusing

 that the jury will be incapable of following the Court’s instructions, or will be unable to

 compartmentalize the evidence against each Defendant.               In Harris, the Fifth Circuit warned


 167
     Id.
 168
     Matthews, 178 F.3d at 299.
 169
     Id.
 170
     United States v. Diaz-Munoz, 632 F.2d 1330, 1337 (5th Cir. 1980).

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 that:

            If, as a practical matter, the natures of the offenses or of the evidence are of such a
            character or are so complicated that a jury could not reasonably be expected to
            separate the indictments or the defendants and to evaluate the evidence properly
            and individually against each separate defendant on each separate charge, then the
            trial judge should sever the trials.171

            However, the nature of the offenses, namely bribery, extortion and money laundering, are

 not so complicated that a jury could not separate the evidence as to each Defendant. As a result,

 the Court finds that limiting instructions will be sufficient to cure potential prejudice.

        3. Joinder of the Tax Evasion Counts

            The Potashniks also raise the third and final issue reserved in this Court’s Memorandum

 Opinion of whether joinder of the Tax Counts is proper. This question applies to the propriety of

 joinder under Rule 8(b) of Counts 21-25, Count 26, and Counts 27-30. These Counts pertain to

 Defendants Hodge, Hill, and Reagan respectively.

            The Court asked the Government to submit additional briefing on the origin of the funds

 behind the Tax Counts. The Government concedes that “there were no tax counts in the

 indictment that were supported wholly by proof of the indicted bribery or extortion schemes.”

 The Government further acknowledged the following:

            •    For Counts 21-25, Hodge allegedly underreported at least $74,000.00 in taxable

                 income—less than half of which came from the Potashniks. “[I]n no single year did

                 all the under-reported income come from the Potashniks.”

            •    For Count 26, Hill is charged with evading taxes over a ten year period in the amount

                 of at least $216,000.00. “There is no specific tax charge against him related solely to

                 the receipt of bribe or extortion monies.”


 171
       Harris, 458 F.2d at 673.

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            •   For Counts 27-30, Reagan is charged with tax evasion arising from his failure to

                report “charitable contributions” to his community organization (the Black State

                Employees Association of Texas), which were allegedly converted and spent for his

                own personal use, in excess of $500,000.00. “Only a small portion of this

                $500,000.00 was money received by him (BSEAT) during the extortion scheme

                alleged in the indictment and it relates only to the 2004 tax year (Count 30).”

            The Fifth Circuit has interpreted Rule 8(b) to require a “substantial identity of facts” to

 support joinder of multiple defendants.172 Given that the Government has admitted that the

 majority of evidence relevant to proving the Tax Counts is unrelated to the remaining Counts in

 the Indictment, the Court holds that joinder of the Tax Counts is improper under Rule 8(b). It

 cannot be said that the facts underlying the Bribery and Extortion Counts will constitute proof

 necessary to establish the Tax Counts because the evidence is in large part unrelated. Because of

 the limited relationship between the income generated from the underlying bribery and extortion

 offenses and the income that the Defendants allegedly failed to report to the Internal Revenue

 Service, the Court finds the relationship too tenuous and remote for joinder of all Defendants

 with these Counts.

            The Potashniks rely on United States v. Lynch, where this Court granted a defendant’s

 motion to sever tax evasion counts.173 In Lynch, the defendant presented evidence that the

 monies not reported originated from an unrelated legal settlement, not from the illegal activities

 alleged in the indictment. This Court found that “the Government is correct that this [tax

 evasion] count is linked to the Defendant's alleged general disposition to fraudulently conceal

 property that should be divulged, [but] count 36's relationship to the fraudulent counts in the rest

 172
       Krenning, 93 F.3d at 1266.
 173
       198 F. Supp.2d 827, 828 (N.D. Tex. 2001).

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 of the Indictment is tenuous. Further, it may lead to jury confusion.”174 In the case at hand, the

 connection is likewise tenuous. The actual proceeds from the alleged illegal activities comprise

 only a small portion of the income not reported in the Tax Counts, and therefore joinder is

 improper.

         The Potashniks also rely on United States v. Diaz-Munoz,175 where the Fifth Circuit

 found improper the joinder of counts for filing false tax returns with those asserting

 embezzlement and insurance fraud. In that case, the government specifically represented to the

 trial court that: “The proof at trial will show the allegations of the subject counts to be part of a

 series of transactions which began with acts of fraud and were concluded when the fraudulent

 income was not reported as income to the Internal Revenue Service.”176 The Fifth Circuit

 concluded on appeal that “the government's representation that the defendants and counts would

 be tied together led the trial judge to his erroneous holding that the requirements of FED. R.

 CRIM. P. 8(a) and (b) were satisfied. In alleging that these counts and defendants were connected,

 the government assumed the risk that its proof would fail, and it conceded this failure on oral

 argument.”177 In this case, the Government has already conceded that the majority of the

 evidence relating to the Tax Counts is outside the chain of evidence required to prove the

 remaining substantive offenses charged in the Indictment. As a result, this Court is required to

 sever the Counts under Rule 8(b).

         The Government relies on an Eighth Circuit decision, United States v. O’Connell,178

 where “proof of the tax count, as charged in the indictment, also required evidence of income


 174
     Id. at 830 (“the relationship between the Defendant's alleged fraudulent embezzlement scheme against HUD is
 not closely connected to the alleged filing of a false tax return”).
 175
     632 F.2d at 1336.
 176
     Id. (emphasis added).
 177
     Id. (emphasis added).
 178
     841 F.2d 1408, 1432 (8th Cir. 1988).

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 from the sale of illegal drugs. If the indictment invites joint proof, as here, the prima facie

 validity of joinder is shown.”179 In O’Connell, proof of the tax count relied on proof of the sale

 of marijuana and the income generated from the sale of drugs. The tax count was directly based

 on the defendants’ failure to report the income from the sale of drugs, so joinder was proper. But

 in this case, proof of the Tax Counts relies in part on proof of the receipt of monies as a result of

 the alleged bribery and extortion, but in large part involves money allegedly received from

 uncharged conduct. Because the Tax Counts only invite joint proof to a limited degree, the

 Court holds that the Tax Counts are improperly joined under Rule 8(b) and must be severed.180


       4. Defendant John J. Lewis’s Motion to Sever Counts 15, 17, 20, and 31 (in which he is
          joined) from Counts 1-9, 21-25, and 27-30

          Defendant Lewis moves to sever Counts 15, 17, 20, and 31 from Counts 1-9, 21-25, and

 27-30. The Court hereby GRANTS Defendant Lewis’s Motion for the reasons stated above.


       5. Defendant Ronald Slovacek’s Motions for Relief from Misjoinder of Counts 1-9, 21-
          25, 26, 27-30

          Defendant Slovacek filed four Motions requested relief from misjoinder of Counts: (1)

 Counts 1-9; (2) Counts 21-25; (3) Count 26; and (4) Counts 27-30, in which Defendant Rashad

 joined. However, in light of the Court’s prior severance of Defendants Slovacek and Rashad

 under Rule 14, the Court finds that these Motions are MOOT.




 179
    Id.
 180
    But see United States v. Williams, 809 F.2d 1072, 1086 (5th Cir. 1987) (“The indictment charged [defendant] in
 only counts 1 and 2: RICO conspiracy and substantive RICO violations. He was not charged with any of the income
 concealment activities. Those two charges encompassed eight of the original ten defendants. There is no question
 that joinder of these defendants was proper under Rule 8(b). The income tax concealment counts were properly tried
 with the RICO counts as part of a series of acts or transactions.”).

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                                            Conclusion

         The Court, having considered the extensive briefing and arguments of the parties, hereby

 disposes of the pending Motions for severance as follows:

    1.   Defendant Hodge’s Motion is GRANTED, and Counts 1-9 are severed for joint trial

         with the Potashniks. Counts 21-25 are also severed for a separate trial, as to only Hodge.

    2. The Potashniks’ Joint Motion is GRANTED to the extent it requests relief from

         misjoinder of Counts 21-25, 26, and 27-30, the Tax Counts. The Tax Counts are severed

         for a separate trial with only the Defendant named in that Count: Counts 21-25 are

         severed for trial with only Hodge; Count 26 is severed for trial with only Hill; and Counts

         27-30 are severed for trial with only Reagan. Insofar as the Motion requests severance of

         the Potashniks for a separate trial of only Brian and Cheryl Potashnik on the Counts

         naming them as Defendants, it is DENIED.

    3. Defendant Lewis’s Motion is GRANTED.

    4. Defendant Slovacek’s Motions, joined by Defendant Rashad, are MOOT.



 SO ORDERED this 17th day of December, 2008.



                                            _________________________________
                                            BARBARA M. G. LYNN
                                            UNITED STATES DISTRICT JUDGE
                                            NORTHERN DISTRICT OF TEXAS




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